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The Honorable J ames L. Robart

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

RICHARD B. EDMONDS, derivatively on
behalf of nominal defendant Getty Images,
Ine.,

Plaintiff,
v.

MARK H. GETTY, JONATHAN D. KLEIN,
A.D. ALBERS, JAMES N. BAILEY, JEFF
BEYLE, M. LEWIS BLACKWELL, NICK
EVANS-LOMBE, JOHN Z. FERGUSON,
ANDREW S. GARB, JIM GURKE,
ELIZABETH J.HUEBNER, SCOTT A.
MISKIMENS, WILLIAM O’NEILL,
STEPHEN M. POWELL, CHRISTOPHER J.
ROLING, CHRISTOPHER H. SPORBORG,

SALLY VON BARGEN, and WARWICK K.

WOODHOUSE,
Defendants,
and
GETTY IMAGES, INC.,

Nominal Defendant.

 

 

 

 

AMENDED SHAREHOLDER VERIFIED
DERIVATIVE COMPLAINT
(No. C 07-0317 JLR)

No. C 07-0317 JLR

AMENDED SHAREHOLDER
VERIFIED DERIVATIVE COMPLAINT

JURY TRIAL DEMANDED

LAW OFFICES OF
CLlFFoRD A. CANToR, P.C.

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Plaintiff, Richard B. Edmonds, (Plaintiff”), by the undersigned attorneys, derivatively on
behalf of Getty Images, Inc. (“Getty Images” or the “Company”) allege upon personal
knowledge as to himself and his own acts, and upon information and belief as to all other
matters, based upon, inter alia, the investigation conducted by and through Plaintiff" s attorneys,
which included, among other things, a review of Securities and Exchange Commission (“SEC”)
filings, news reports, press releases, and other publicly available documents regarding Getty
Images.

NATURE OF THE ACTION

1. This is a shareholder’s derivative action brought for the benefit of nominal
defendant Getty Images against certain members of its Board of Directors (the “Board”) and
certain of its executive officers seeking to remedy defendants’ breaches of fiduciary duties,
unjust enrichment, statutory violations, and other violations of law relating to the “backdating”
of stock option grants to Getty Images insiders.

2. F rom April 1999 to February 2002, a majority of Getty Images directors, together
with its top officers, engaged in a secret scheme to grant undisclosed, in-the-money stock options
to themselves and others by backdating stock option grants to coincide with historically low
prices of Getty Images common stock. Indeed, in a striking pattern, 21 out of 25 discretionary
grants made from April 1999 to February 2002 coincided with historically low prices ~ eight of
the grants were purportedly made at or near the lowest price of the fiscal year and fourteen were
made at or near the lowest price of the fiscal quarter.

3. This action seeks redress for the harm done to Getty Images, and indirectly to its
stockholders, resulting from the self-dealing of certain of the Company’s top executives and
directors who breached their fiduciary duties of loyalty and good faith to the Company by
intentionally manipulating Getty Images stock option grants between April 1999 and February
2002. As a result of their misconduct, these top executives and directors have secured a huge
windfall for themselves at the expense of Getty Images and caused the misstatement of Getty

Images’ financial results from the Company’s fiscal year 1999 through the present. In fact, the

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Company restated its historical financial statements to account for over $27 million in additional
compensation expenses

4. These key executives and directors backdated stock option grants in order to
exercise the stock option grants at a lower strike price, thus pocketing more money than they
were otherwise entitled to receive. A stock option granted to an employee or director of the
Company allows the employee or director to purchase Company stock at a specified price -
referred to as the “exercise price” - for a specified period of time. Stock options are typically
granted as part of an employee’s or director’s compensation package to create incentives for him
or her to boost profitability and the Company’s stock value. When an employee or director
exercises an option, he or she purchases the stock from the Company at the exercise price,
regardless of the stock price at the time the option is exercised. Option pricing is based on the

price of the Company’s common stock on the day of the grant. If an option is backdated to a day

von which the market price was lower than the price on the day the option is granted, as Getty

Images has admitted was the case here, then the employee or director pays less for the stock
option. Consequently, the Company gets less money for the stock when the option is exercised.

5. As demonstrated below, these perfectly-timed option grants could not have been
the result of mere coincidence They were, in fact, the result of improper and opportunistic
option granting practices. Because the Company failed to comply with the Generally Accepted
Accounting Principles (“GAAP”) governing the expensing of stock option grants, the backdating
scheme had a material effect on Getty Images’ financial statements from 1999 through the
present. As explained infra, to the extent the Company failed to record, as a compensation
expense, the difference between the price of Getty Images stock on the date of the actual grant
and the “backdated” exercise price of the options, this deliberate omission resulted in the
material understatement of the Company’s reported compensation expense and a material
overstatement of its reported net income throughout the relevant period.

6. The backdating practices directed by defendants rendered materially false and

misleading each of the Company’s annual proxy statements to shareholders, which purported to

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set forth the true amount and type of compensation of its most highly-compensated executives,
as required by rules promulgated by the SEC. The practice of backdating also rendered the
defendants’ statements regarding the Company’s executive and director stock-based
compensation, contained in Getty Images’ annual reports and annual proxy statements,
materially false and misleading

7. The secret practice of backdating stock options was exposed on March 18, 2006,
when The Wall Street Journal published an article entitled “The Perfect Payday,” which
described stock option backdating practices by a number of companies where their executives
had achieved extremely fortuitous stock option paydays --the likelihood of which defied random
chance. The Wall Street Jourrzal, together with Erik Lie, a professor at Tippie College of
Business at the University of lowa, David Yermack, a professor at New York University Stern
School of Business, and John Emerson, a professor at Yale University, studied patterns of
particularly favorable stock grants at certain companies and calculated the probability of such
patterns occurring randomly and concluded that the odds were improbable.

8. This practice of backdating stock options, though widespread, remained virtually
undetected until such academic research revealed patterns of stock option grants that could not
be explained by chance. These studies noted the frequency with which stock option grants
occurred just after a drop in stock price and immediately before a significant increase in stock
price, often at the lowest price of the year. Such timing could not be statistically explained by
random selection of grant dates. One study hypothesized that the dates of the grants had been
selected retroactively. Such retroactive dating, or “backdating,” would permit the grantor to
select the most advantageous price for the stock option and to effectively grant “in-the-money”
stock options (where the exercise price of the option is lower than the stock price on the date of
grant) that appeared to be granted when the stock price was at a historical low. Since companies
are required to report in-the-money grants as compensation to the recipient and as a charge to the

corporation, the practice of backdating would provide a means to confer additional stock value,

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or compensation, to officers and employees that was not detectable, thereby permitting Company
insiders to conceal the additional compensation and forego reporting or recording the charge.

9. Former SEC Chairman Harvey L. Pitt was quoted saying “[w]hat’s so terrible
about backdating options grants? For one thing, it likely renders a company’s proxy materials
false and misleading Proxies typically indicate that options are granted at fair market value.
But if the grant is backdated, the options value isn’t fair - at least not from the vantage point of
the company and its shareholders.” Deputy Attorney General Paul J. McNulty has described the
practice of stock option backdating “as a brazen abuse of corporate power.” The Chairman of
the Banking, Housing Urban Affairs Committee of the United States Senate, Senator Richard
Shelby, has also stated that manipulation of options grant dates is a “black-and-white example of
securities fraud.”

10. SEC Chairman Christopher Cox was quoted, saying “[Backdating options] isn’t a
question about ‘Whoops, l may have (accidentally) crossed a line here’ . . . It’s a question of
knowingly betting on a race that’s already been run.” He has also announced that “[backdating
in many cases] makes a hash of (companies’) financial statements . . . [and is] poisonous [to
efficient markets]. . . . lt is securities fraud if you falsify books and records. lt is securities fraud
if you present financial statements to the SEC that do not comply with generally accepted
accounting principles There is no requirement that (the defendant) personally profit [to prove
that a crime occurred.]” He has further stated, “[r]ather obviously, this fact pattern [of
backdating options] results in a violation of the SEC’s disclosure rules, a violation of accounting
rules, and also a violation of the tax laws.” The Commissioner of the Internal Revenue Service
(“IRS”) Mark Everson agreed and has further stated, “[p]icking a date on which the stock price
was low in comparison with the current price gives the employee the largest potential for gain on
the option and makes it possible for the employee to benefit from corporate performance that
occurred before the option was granted.”

11. In addition to the foregoing, a recent academic study revealed that outside

directors of companies were also benefiting from backdating and were recipients of manipulated

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stock option grants, as detailed in The Wall Street Journal article published on December 18,

2006 below:

A new academic study suggests that many outside directors received
manipulated stock-option grants, a finding that may help explain why the
practice of options backdating wasn’t stopped by the boards of some
companies

The statistical study, which names no individuals or firms, estimates that
1,400 outside directors at 460 companies received questionable option
grants, suggesting the widespread practice extended well beyond the
executive suite.

The study is notable because it suggests that outside, or independent,
directors -- who are supposed to play a special role safeguarding against
cozy board relationships with management -- may have been co-opted in
options backdating by receiving manipulated grants themselves. The New
York Stock Exchange requires that a majority of board seats, and all
compensation- and audit-committee members, be independent . . . .

The evidence “contributes to understanding the possible factors that led to
or enabled manipulation to occur,” states the unpublished study, which
was conducted by professors at Harvard and Cornell universities and the
French business school Insead . . . .

l2. According to an August 26, 2007 article in the National Law Journal entitled
“Lawyers Fly Blind on Options Penalties,” the stock options backdating scandal has produced 16
criminal prosecutions, 220 companies that have been subject to internal or federal investigations
and 100 corporate earnings restatements totaling approximately $lZ.4 billion.

13. Getty Images is one of the many companies that have been subject to both an
internal investigation and SEC investigation involving options backdating at the Company.
After the internal investigation was completed, the Company admitted that past option grants
were “improperly dated” and that the Company would be required to restate financial data.
Specifically, the Company has determined that “it is necessary to revise the measurement dates
for approximately 3,700 . . . grants, covering grants made on approximately 130 occasions.” On

June 13, 2007, the Company filed its fiscal 2006 financial report and the first and second quarter

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amended reports, which were adjusted to account for additional compensation expenses totaling
over $27 million.

14. In addition to being unjustly enriched by the receipt of backdated options, from
February 25, 1999 to January 20, 2006, Defendants Garb, Getty, Klein and Sporborg, while in
possession of materially adverse non-public information regarding the backdating of stock
options and the false financial statements resulting therefrom, sold approximately 3.1 million
shares of Getty Images stock and collectively realized total proceeds of over $169 million, a
significant portion of which was obtained through the exercise of improperly backdated stock
options. Furthermore, Getty Image’s executives were also overpaid cash bonuses based on
inflated earnings, which created an inflated market capitalization for Getty Images common
stock.

15. As alleged in detail herein, in gross breach of their fiduciary duties as officers
and/or directors of Getty Images, defendants intentionally colluded with one another to:

a. improperly backdate multiple grants of Getty Images stock options to several
Getty Images executives and directors, in violation of the Company’s
shareholder-approved stock option plans;

b. improperly record and account for the backdated stock options, in violation of
GAAP;

c. improperly take tax deductions based on the backdated stock options, in violation
of Section 162(m) of the Internal Revenue Code, 26 U.S.C. § 162(m) (“Section
162(m)”);

d. produce and disseminate false financial statements and other false SEC filings to

Getty Images shareholders and the market that improperly recorded and
accounted for the backdated option grants and concealed the improper backdating
of stock options; and

e. improperly cause Getty Images to violate applicable federal and state laws, rules,
and regulations requiring the dissemination of accurate financial statements and
restricting the misuse of material non-public information

16. By engaging in this scheme, defendants were able to conceal that Getty Images

was not accounting for its compensation expenses properly and was materially overstating the

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Company’s net income and earnings for 1999 through the present. In addition to the serious and
adverse tax consequences resulting from the Company’s failure to record the appropriate non-
cash stock-based compensation expenses, Getty Images faces millions in costs associated with
the review by the Special Committee of the Board (the “Special Committee”) and the related
restatements

17. This action states derivative claims for the defendants’ violations of Sections
10(b), 14(a) and 20(a) of the Exchange Act and SEC Rule 10b-5. This action also seeks
disgorgement of bonuses or other incentive-based or equity-based compensation received by the
defendants who also received backdated options, and for any profits realized from their sale of
Getty Images stock, pursuant to Section 304 of the Sarbanes-Oxley Act of 2002.

18. As a result of defendants’ secret scheme to backdate options and issue false and
misleading statements to conceal such backdating, Getty Images has sustained millions of dollars
in damages, including damage to its reputation and loss of goodwill in general, exposure to an
adverse opinion by its outside auditors and considerable financial cost in having to review and
restate previously issued financial statements Moreover, Getty Images has been exposed to civil
liability and potential regulatory fines by the SEC and IRS for failure to pay or withhold taxes
Meanwhile, the recipients of the backdated stock options -- top executives and directors at Getty
Images -- have garnered millions of dollars in unlawful profits at the expense of the Company.

JURISDICTION AND VENUE

19. This Court has jurisdiction over this action pursuant to 28 U.S.C. §1331 in that
this Complaint states a federal question. This Court also has jurisdiction over this action
pursuant to 28 U.S.C. § 1332(a)(2) in that Plaintiff and Defendants are citizens of different states
and the matter in controversy exceeds $75,000.00, exclusive of interests and costs. This Court
has supplemental jurisdiction over the state law claims asserted herein pursuant to 28 U.S.C.
§1367(a). This action is not a collusive one to confer jurisdiction on a court of the United States
which it would not otherwise have.

20. Venue is proper in this district because a substantial portion of the transactions

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and wrongs complained of herein, including the defendants’ primary participation in the
wrongful acts detailed herein, occurred in this district. One or more of the defendants either
resides in or maintains executive offices in this district, and defendants have received substantial
compensation in this district by engaging in numerous activities and conducting business here,
which had an effect in this district.

PARTIES

21. Plaintiff Edmonds is a shareholder of Getty Images, was a shareholder of Getty
Images at the time of the wrongdoing alleged herein, and has been a shareholder of Getty Images
continuously since that time. Plaintiff Edmonds is a citizen of the State of Pennsylvania.

22. Nominal defendant, Getty Images, is a Delaware corporation with its principal
executive offices located at 601 North 34th Street, Seattle, WA 98103. According to its public
filings, Getty Images is a leading creator and distributor of visual content.

Defendant Gett_v_

23. Defendant Mark H. Getty (“Getty”) is a co-founder of Getty Images and has
served as a director and as Chairman of the Board since February 1998.

24. Upon information and belief, Getty received approximately the following as

compensation, not including stock option grants:

 

 

 

 

 

 

 

 

 

 

 

Fiscal Year Compensation

2005 $123,003

2004 $137,099

2003 $564,616

2002 $482,775 salary

2001 v $460,889 salary

2000 $481,292 salary and $500,000 bonus
1999 $343,904 salary and $224,250 bonus

 

25. Upon information and belief, Defendant Getty received 915,000 backdated Getty

Images stock options, as shown below:

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Purported grant date # of Options Exercise price
10/22/99 15,000 $19.07
04/28/00 400,000 $30.32
05/24/00 400,000 $28.63
03/30/01 50,000 $16.85
10/15/01 50,000 $12.41

 

 

 

 

 

26. From 2003 to 2006, Defendant Getty sold 1,407,635 shares of Getty Images stock
with total proceeds of $76,183,332.60, a significant portion of which was obtained through the
exercise of improperly backdated stock options

27. Upon information and belief, Getty is a citizen of the State of Washington.
Defendant Klein

28. Defendant Jonathan D. Klein (“Klein”) is a co-founder of Getty Images and has
served as Chief Executive Officer (“CEO”) and as a director since February 1998. Klein has
served as the only member of the Stock Option Committee of the Board, later renamed the
Equity Compensation Committee (the “Stock Option Committee”) since its formation in July
2001 until its dissolution in 2007.

29. Upon information and belief, Klein received approximately the following as

compensation, not including stock option grants:

 

 

 

 

 

 

 

 

 

 

Fiscal Year Compensation

2006 $950,000

2005 $950,000 salary and $691,600 bonus
2004 $962,500 salary and $828,208 bonus
2003 $1,100,000 salary and $325,000 bonus
2002 $1,100,000 salary and $420,000 bonus
2001 $625,000 salary

2000 $463,177 salary

1999 $355,976 salary and $224,250 bonus

 

 

 

30. Upon information and belief, Klein received 1,317,000 backdated Getty Images

stock options, as shown below:

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Purported grant date # of options Exercise price
10/22/99 15,000 $19.07
04/28/00 400,000 $30.32
05/24/00 400.000 $28.63
03/30/01 50,000 $16.85
05/07/01 232,000 $25.43
06/26/01 170,000 $25.43
10/15/01 50,000 812.41
31. Upon information and belief, Klein is a citizen of the State of Washington.

Defendant Sporborg
32. Defendant Christopher H. Sporborg (“Sporborg”) has served as a director of the

Company and as a member of the Compensation Committee of the Board (the “Compensation
Committee”) since February 1998 and served as a director of Getty Communications Limited
from May 1996 to February 1998. Defendant Sporborg also served as a member of the Audit
Committee of the Board (the “Audit Committee”) from 1998 to 2004.

33. Upon information and belief, Sporborg received an option grant dated July 23,
2001 to purchase at least 8,333 shares of Getty Images common stock at the exercise price of
$15.80. Moreover, from 2004 to 2005, Defendant Sporborg sold 9,583 shares of Getty Images
stock with total proceeds of $577,309.86, a significant portion of which was obtained through the
exercise of improperly backdated stock options

34. Upon information and belief, Sporborg is a citizen of the State of Washington.
Defendant Bailey

35. Defendant James N. Bailey (“Bailey”) has served as a director of Getty Images
and as a member of the Compensation Committee and the Audit Committee since February
1998. Bailey also served as a director of Getty Communications Limited from September 1996

to February 1998.

36. Upon information and belief, Bailey is a citizen of the State of Washington.
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Defendant Garb

37. Defendant Andrew S. Garb (“Garb”) has served as a director of the Company and
as a member of the Compensation Committee since February 1998. Garb also served as a
director of Getty Communications Limited from May 1996 to February 1998. He has also
served as a member of the Audit Committee from 1998 to 2002 and since 2005. Garb is
currently of counsel to the law firm of Loeb & Loeb LLP, where he was managing partner from
1986 to 1992.

38. Upon information and belief, Garb is a citizen of the State of Washington.
Defendant Albers

39. Defendant A.D. Albers (“Albers”) served as the Company’s Senior Vice President
and Chief Technology Officer from October 1999 to March 2003.

40. Upon information and belief, Defendant Albers received approximately the

following as compensation, not including stock option grants

 

 

 

 

 

 

 

 

Fiscal Year Compensation

2002 8260,000 salary and 8100,000 bonus
2001 8275,000 salary

2000 8248,542 salary and 8137,500 bonus
1999 $44,128 salary and $17,500 bonus

 

41. Upon information and belief, Defendant Albers received 95,000 backdated Getty

Images stock options, as shown below:

 

 

 

 

 

 

 

 

 

Purported grant date # of options Exercise price
08/28/00 25,000 $40.41
10/11/00 25,000 $24.78
03/30/01 25,000 $l6.85
10/15/01 20,000 $12.41

 

42. From November 1, 2002 to March 4, 2003 Defendant Albers sold 51,771 shares
of Getty Images stock with total proceeds of $1,525,407.73, a significant portion of which was

obtained through the exercise of improperly backdated stock options

43. Upon information and belief, Albers is a citizen of the State of Washington.
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Defendant Beyle
44. Defendant Jeff Beyle (“Beyle”) has served as Senior Vice President and General

Counsel of Getty Images since November 2000.
45. Upon information and belief, Defendant Beyle received approximately the

following as compensation, not including stock option grants:

 

 

 

 

 

 

 

Fiscal Year Compensation

2005 $290,000 salary and $120,640 bonus
2004 $290,000 salary and $141,520 bonus
2003 $282,500 salary and $102,080 bonus
2002 8260,000 salary and 8100,000 bonus
2001 $248,750 salary

2000 $22,705 salary and $15,000 bonus

 

 

 

 

46. Upon information and belief, Defendant Beer received 63,500 backdated Getty

Images stock options, as shown below:

 

 

 

 

 

 

 

 

Purported grant date # of options Exercise price
03/30/01 18,500 $16.85
07/17/01 25,000 $16.94
10/15/01 20,000 $12.41

 

47. From October 27, 2003 to October 25, 2005, Defendant Beyle sold 138,500
shares of Getty Images stock with total proceeds of $9,364,596.00, a portion of which was
obtained through the exercise of improperly backdated stock options

48. Upon information and belief, Beer is a citizen of the State of Washington.
Defendant Blackwell

49. Defendant M. Lewis Blackwell (“Blackwell”) served as Getty Images’ Senior
Vice President, Creative Customers from September 2003 to 2006 and as its Senior Vice
President, Creative Direction from July 2001 to September 2003.

50. Upon information and belief, Defendant Blackwell received approximately the

following as compensation, not including stock option grants:

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Fiscal Year Compensation
2004 $312,913 salary and $147,352
2003 $264,468 salary and $105,428
2002 $231,000 salary and $75,000 bonus
2001 $221,760 salary
51. Upon information and belief, Defendant Blackwell received an option grant dated

October 15, 2001 to purchase 10,000 shares of Getty Images common stock at the exercise price
of $12.41. On May 27, 2003, Defendant Blackwell sold 10,000 shares of Getty Images stock
with total proceeds of $376,400.00, a significant portion of which was obtained through the
exercise of improperly backdated stock options

52. Upon information and belief, Blackwell is a citizen of the State of Washington.
Defendant Evans-Lombe

53. Defendant Nick Evans-Lombe (“Evans-Lombe”) has served as the Company’s
Senior Vice President, Images and Services since August 2004. Evans-Lombe also served as its
Senior Vice President, Editorial Customers from September 2003 to July 2004, its Senior Vice
President, Editorial from January 2002 to September 2003, its Senior Vice President, Strategy
and Corporate Development from February 1998 to January 2002, and Director of Strategy and
Corporate Development of Getty Communications Limited, its predecessor, from February 1996
to February 1998.

54. Upon information and belief, Defendant Evans-Lombe received approximately

the following as compensation, not including stock option grants'.

 

 

 

 

 

 

Fiscal Year Compensation

2006 $350,750 committee fees and $30,000 bonus
2004 $240,000 salary and $119,040 bonus

2003 $238,750 salary and $89,000 bonus

2002 3235,000 salary and $66,000 bonus

 

 

 

55. Upon information and belief, Defendant Evans-Lombe received 140,000

backdated Getty Images stock options, as shown below:

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Purported grant date # of options Exercise price
0_5/04/99 30,000 $26.82
07/27/99 30,000 $18.44
10/22/99 15,000 $19.07
03/30/01 20,000 $16.85
10/15/01 20,000 $12.41
02/05/02 25,000 $19.43

 

56. From January 2, 2003 to August 26, 2005, Defendant Evans-Lombe sold 118,355
shares of Getty Images stock with total proceeds of $6,644,231.85, a significant portion of which
was obtained through the exercise of improperly backdated stock options

57. Upon information and belief, Evans-Lombe is a citizen of the State of

Washington.

Defendant Ferguson
58. Defendant John Z. Ferguson (“Ferguson”) served as Getty Images’ Senior Vice

President, Sales, Americas, and held other senior vice president positions at the Company from
at least 1999 to 2005,
59. Upon information and belief, Defendant Ferguson received 31,400 backdated

Getty Images stock options, as shown below:

 

 

 

 

 

 

 

 

 

 

Purported grant date # of options Exercise price
08/03/99 3,500 $18.33
10/22/99 7,500 $19.07
02/01/00 400 $38.63
03/30/01 10,000 $16.85
10/09/01 10,000 $12.82

 

60. From November 11, 2003 to July 29, 2005, Defendant Ferguson sold 51,500
shares of Getty Images stock with total proceeds of $3,348,535.00, a portion of which was
obtained through the exercise of improperly backdated stock options

61. Upon information and belief, Ferguson is a citizen of the State of Washington.
Defendant Gurke

62. Defendant Jim Gurke (“Gurke”) has served as the Company’s Senior Vice

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President, Human Resources and Chief of Staff since July 2004 and previously served as its Vice
President of New Revenues from December 2003 to July 2004, as its Vice President of Sales,
Americas from October 2002 to August 2002, and as its Vice President of Sales and Marketing
from 1999 to 2002,

63. Upon information and belief, Defendant Gurke received 35,900 backdated Getty

Images stock options, as shown below:

 

 

 

 

 

 

Purported grant date # of options Exercise price
08/03/99 3,000 $l 8.33
10/22/99 7,500 $19.07
02/01/00 400 $38.63
03/30/01 15,000 $16.85
10/09/01 10,000 $12.82

 

 

 

 

 

64. From November 11, 2003 to January 3, 2006, Defendant Gurke sold 1,407,635
shares of Getty Images stock with total proceeds of $76,183,332.60, a portion of which was
obtained through the exercise of improperly backdated stock options

65. Upon information and belief, Gurke is a citizen of the State of Washington.
Defendant Huebner

66. Defendant Elizabeth J. Huebner (“Huebner”) served as Getty Images’ Senior Vice
President and Chief Financial Officer from October 2000 to early 2006.

67. Upon information and belief, Defendant Huebner received approximately the

following as compensation, not including stock option grants:

 

 

 

 

 

 

 

 

 

 

 

 

Fiscal Year Compensation

2006 $187,500 salary

2005 $392,500 salary and $208,000 bonus

2004 $370,000 salary and $229,400 bonus

2003 $361,250 salary and $l81,300 bonus

2002 $335,000 salary and $185,000 bonus

2001 $312,500 salary

2000 $74,178 salary and $41,250 bonus
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68. Upon information and belief, Defendant Huebner received: (i) an option grant
dated March 30, 2001 to purchase 35,000 shares of Getty Images common stock at the exercise
price of $16.85, and (ii) an option grant dated October 15, 2001 to purchase 20,000 shares of
Getty Images common stock at the exercise price of $12.41.

69. From October 27, 2003 to May 16, 2006, Defendant Huebner sold 257,917 shares
of Getty Images stock with total proceeds of $16,071,192.23, a portion of which was obtained
through the exercise of improperly backdated stock options

70. Upon information and belief, Huebner is a citizen of the State of Washington.
Defendant Miskimens

71. Defendant Scott A. Miskimens (“Miskimens”) served as the Company’s Senior
Vice President, Technology and Content from December 2003 to 2004, as its Senior Vice
President, Technology, Content and Artist Operations from January 2003 to December 2003, as
its Senior Vice President, Content and Artist Operations, from November 2002 to January 2003,
and as its Vice President, Technology Services from January 2000 to November 2002.

72. Upon information and belief, Defendant Miskimens received 28,944 backdated

Getty Images stock options, as shown below:

 

 

 

 

 

Purported grant date # of options Exercise price
05/30/00 10,000 $29.10
03/30/01 9,375 $16.85
07/17/01 5,569 $16.94
10/09/01 4,000 $12.82

 

 

 

 

 

73. From May 16, 2003 to February 12, 2004, Defendant Miskimens sold 14,284
shares with total proceeds of $586,154.04, a significant portion of which Was obtained through
the exercise of improperly backdated stock options

74. Upon information and belief, Miskimens is a citizen of the State of Washington.
Defendant O’ Neill

75. Defendant William O’Neill (“O’Neill”) has been the Senior Vice President of

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Human Resources of the Company from April 2000 to December 2002.

76. Upon information and belief, Defendant O’Neill received an option grant dated
March 30, 2001 to purchase 30,000 shares of Getty Images common stock at the exercise price
of $16.85.

77. Upon information and belief, O’Neill is a citizen of the State of Washington.
Defendant Powell

78. Defendant Stephen M. Powell (“Powell”) served as Getty Images’ President of
the Press and Editorial Division from 1998 to 2001.

79. Upon information and belief, Defendant Powell received 90,000 backdated Getty

Images stock options, as shown below:

 

Purported grant date # of options Exercise price

 

 

 

 

04/09/99 50,000 $23.32
07/06/99 25,000 $18.32
10/22/99 15,000 $19.07

 

 

 

 

80. Upon information and belief, Powell is a citizen of the State of Washington.
Defendant Roling

81. Defendant Christopher J. Roling (“Roling”) served as the Company’s Senior Vice
President, Finance and Chief Financial Officer from January 1999 to May 2000.

82. Upon information and belief, Defendant Roling received 28,000 backdated Getty

Images stock options, as shown below:

 

 

 

 

 

 

 

Purported grant date # of options Exercise price
05/04/99 10,000 $26.82
08/03/99 3,000 $18.33
10/22/99 15,000 819.07

 

 

 

 

83. Upon information and belief, Roling is a citizen of the State of Washington.

Defendant von Bargen

84. Defendant Sally von Bargen (“von Bargen”) served as the Company’s Senior

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Vice President and Director of Marketing from February 2001 to December 2001 and as the
President of Creative Professional Division of Getty Images from July 1999 to February 2001.
85. Upon information and belief, Defendant von Bargen received 135,000 backdated

Getty Images stock options, as shown below:

 

 

 

 

 

 

 

 

Purported grant date # of options Exercise price
04/09/99 75,000 ' $23.32
10/22/99 40,000 $19.07
03/30/01 20,000 $16.85

 

86. Upon information and belief, von Bargen is a citizen of the State of Washington.
Defendant Woodhouse

87. Defendant Warwick K. Woodhouse (“Woodhouse”), served as Getty Images’
Senior Vice President, Organizational Development from May 2003 to 2004. He also served as
its Senior Vice President, Operations and Logistics from September 2000 to August 2002, as its
Senior Vice President, Planning from February 1998 to September 2000, and as the Group
Planning Director of Getty Communications Limited from October 1996 to February 1998.

88. Upon information and belief, Defendant Woodhouse received 92,000 backdated

Getty Images stock options, as shown below:

 

 

 

 

 

 

Purported grant date # of options Exercise price
10/25/99 2,000 $19.38
10/11/00 25,000 $24.78
03/30/01 30,000 $16.85
07/17/01 25,000 $16.94
10/15/01 - 10,000 $12.41

 

 

 

 

 

89. From May 15, 2003 to August 31, 2004, Defendant Woodhouse sold 105,500
shares of Getty Images stock with total proceeds of $4,909,275.00, a significant portion of which
was obtained through the exercise of improperly backdated stock options

90. Upon information and belief, Woodhouse is a citizen of the State of Washington.

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Individual Defendants

91. Collectively, defendants Getty, Klein, Sporborg, Bailey, Garb, Albers, Beyle,
Blackwell, Evans-Lombe, Ferguson, Gurke, Huebner, Miskimens, O’Neill, Powell, Roling, von
Bargen and Woodhouse are referred to herein as the “Individual Defendants”

DUTIES OF THE INDIVIDUAL DEFENDANTS

92. By reason of their positions as officers and/or directors of the Company and
because of their ability to control the business and corporate affairs of the Company, the
Individual Defendants, particularly Getty, Klein and Compensation Committee members Bailey,
Garb and Sporborg, owed the Company and its shareholders the fiduciary obligations of good
faith, trust, loyalty and due care, and were and are required to use their utmost ability to control
and manage the Company in a fair, just, honest and equitable manner. The Individual
Defendants were and are required to act in furtherance of the best interests of the Company and
its shareholders so as to benefit all shareholders equally and not in furtherance of their personal
interest or benefit. Each director and officer of the Company owes to the Company and its
shareholders the fiduciary duty to exercise good faith and diligence in the administration of the
affairs of the Company and in the use and preservation of its property and assets and the highest
obligations of fair dealing.

93. Defendants Getty, Klein, Sporborg, Bailey and Garb, because of their positions of
control and authority as directors and/or officers of the Company, were able to and did, directly
and/or indirectly, exercise control over the wrongful acts complained of herein,

94. To discharge their duties, Defendants Getty, Klein, Sporborg, Bailey and Garb, as
the officers and directors of the Company, were required to exercise reasonable and prudent
supervision over the management, policies, practices and controls of the Company. By virtue of
such duties, the officers and directors of the Company were required to, among other things:

a. exercise good faith in ensuring that the affairs of the Company were conducted in
an efficient, business-like manner so as to make it possible to provide the highest
quality performance of its business;

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b. exercise good faith in ensuring that the Company was operated in a diligent,
honest and prudent manner and complied with all applicable federal and state
laws rules regulations and requirements including acting only within the scope
of its legal authority;

c. - exercise good faith in supervising the preparation, filing and/or dissemination of
financial statements press releases audits reports, or other information required
by law, and in examining and evaluating any reports or examinations audits or
other financial information concerning the financial condition of the Company;

d. exercise good faith in ensuring that the Company’s financial statements were
prepared in accordance with GAAP; and

e. refrain from unduly benefiting themselves and other Company insiders at the
expense of the Company.

95. The Individual Defendants particularly Getty and Klein, and Audit Committee
members Sporborg, Bailey and Garb, were responsible for maintaining and establishing adequate
internal accounting controls for the Company and to ensure that the Company’s financial
statements were based on accurate financial information According to GAAP, to accomplish
the objectives of accurately recording, processing, summarizing and reporting financial data, a
corporation must establish an internal accounting control structure Among other things, the

Individual Defendants were required to:

a. make and keep books records and accounts which, in reasonable detail,
accurately and fairly reflect the transactions and dispositions of the assets of the
issuer; and

b. devise and maintain a system of internal accounting controls sufficient to provide

reasonable assurances that -

1. transactions are executed in accordance with management’s general or
specific authorization; and

2. transactions are recorded as necessary to permit preparation of financial
statements in conformity with [GAAP].

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DUTIES AND RESPONSIBILITIES OF THE AUDIT, COMPENSATION,
AND STOCK OPTION COMMITTEES

96. The standing committees of the Board include: (i) the Audit Committee; (ii) the
Compensation Committee; and (iii) Stock Option Committee

97. These Committees set the policies which admittedly permitted the backdating of
options to occur.
Compensation Committee

98. The following directors served on the Compensation Committee of the Getty
Images Board at certain times during the relevant period:

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99. According to the Company’s Compensation Committee Charter, the
Compensation Committee’s responsibilities include, among other things:

a. Review and approve corporate goals and objectives relevant to the Chief
Executive Officer’s compensation, evaluate the Chief Executive Officer’s
performance in light of those goals and objectives and, either as a committee or
together with the other independent directors (as directed by the Board),
determine and approve the Chief Executive Officer’s compensation level based on
this evaluation;

b. Either as a Committee or together with the other independent directors, as
directed by the Board, determine and approve non-Chief Executive Officer
Executive Officer compensation and incentive-compensation and equity-based
plans that are subject to Board approval, including, but not limited to, base
salaries annual and other incentive awards stock options and other equity-based
compensation, deferred compensation, retirement benefits special benefits
executive perquisites and employment/severance contracts;

c. Administer the [Option] Plan in a manner that is not inconsistent with the terms
and provisions of such plan, construe all terms and provisions conditions and

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limitations to the [Option] Plan, and make all factual determinations required for
the administration of the [Option]Plan; . . .

d. Adopt and periodically review a comprehensive statement of compensation
philosophy, strategy and principles for Executive Officers that has the support of
management and the Board, and administer the Company’s compensation
program fairly and consistently within such principles; . . .

e. The Chair (or other Committee member as designated by the Committee) shall
meet annually with the Chief Executive Officer and any other members of
management the Board and Committee members deem appropriate to discuss and
review the performance criteria and compensation levels of key members of
Executive Officers . . .

f. The Committee shall prepare a report to be included in the Company’s annual
proxy statement or Annual Report on Form lO-K, in accordance with applicable
rules and regulations of the New York Stock Exchange, the Securities and
Exchange Commission and other applicable regulatory bodies

g. The Committee also shall review and discuss with management the Company’s
executive compensation disclosure (including the Company’s disclosures under
“Compensation Discussion and Analysis”) included in reports and registration
statements with the Securities and Exchange Commission.

Audit Committee
100. The following directors served on the Audit Committee of the Board at certain

times during the relevant period:

1998 1999 2000 2001 2002 2003 2004 2005 2006

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101. Getty Images’ Audit Committee Charter provides that the Audit Committee shall,

among other things:

a. Discuss with management and the independent auditors the Company’s annual
audited financial statements and quarterly financial statements including the
Company’s specific disclosures under “Management’s Discussion and Analysis of

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Financial Condition and Results of Operations” in the Company’s periodic filings
and the report of the independent auditor on any audited financial statements

b. Review with management and the independent auditor the type and presentation
of information to be included in earnings press releases, and discuss any financial
information and earnings guidance provided to analysts investors and rating
agencies The Committee’s responsibility to discuss earnings releases as well as
financial information and earnings guidance, may be done generally (i.e.,
discussion of the types of information to be disclosed and the type of presentation
to be made). The Committee need not discuss in advance each earnings release or
each instance in which the Company may provide earnings guidance

c. Based on the review and discussions referred to in this Section, determine
whether to recommend to the Board that the Company’s audited financial
statements be included in the Company’s Annual Report on Form 10-K for the
last fiscal year for filing with the Securities and Exchange Commission.

d. Discuss with the independent auditors the matters required to be discussed by
Statement of Auditing Standards No. 61 (“SAS No. 61”), Communications with
Audit Committees SAS No. 89, Audit Adjustments and SAS No. 90, Audit
Committee Communications as each is amended from time to time, together with
any other matters as may be required or appropriate under applicable laws rules
and regulations

e. Review significant reserves estimates and judgments by management, and the
processes that provide the basis for the CEO and CFO to sign their quarterly
certifications in the Company’s SEC filings

Stock 0ption Committee

102. The Stock Option Committee was formed in July 2001 and was later renamed the
Equity Compensation Committee From its formation until its dissolution in 2007, the Stock
Option Committee consisted of only one member, Defendant Klein, The Stock Option
Committee was discontinued at the recommendation of the Special Committee in relation to its
investigation of the Company’s stock option granting practices According to Getty lmages’
proxy statements the Stock Option Committee “[was] responsible for the administration of the
Amended and Restated Getty Images lnc. 1998 Stock lncentive Plan for those employees who
are not executive officers of the Company.” The Committee may act only within limits set by

the Board of Directors

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BACKG_ROUND
The Stock Option Backdating Scandal

103. Under accounting rules in effect prior to 2004, public companies in the United
States were permitted to grant stock options to employees without recording an expense, as long
as the option’s strike price was at or above the market’s price for the stock on the day the options
were granted. If the option granted was priced below the market price on the date granted
(known as an in-the-money option grant), SEC regulations required that any publicly traded
company recognize and record the difference as a compensation expense in its financial
statements See, e.g., Accounting Principles Board Opinion No. 25 (“APB 25”), superseded in
2004 by -FAS 123(R).l Accounting rules also required that companies recognize the same
compensation expense if in-the-money options were granted to non-employees Thus, while in-
the-money stock options are more valuable to those to whom they are granted, the additional
expenses if disclosed, reduce the total amount of net income reported to shareholders of a
publicly traded company.

104. In addition, pursuant to Section 162(m), compensation in excess of $1 million per
year, including gains on stock options paid to a corporation’s most highly compensated officers
is tax deductible only if: (i) the compensation is payable solely on account of the attainment of
one or more performance goals; (ii) the performance goals are determined by a compensation
committee comprised solely of two or more outside directors; (iii) the material terms under
which the compensation is to be paid, including the performance goals are disclosed to
shareholders and approved by a majority of the vote in a separate shareholder vote before the
payment of the compensation; and (iv) before any payment of such compensation, the

compensation committee certifies that the performance goals and any other material terms were

 

l Pursuant to APB 25, the applicable GAAP provision at the time of the stock option grants
enumerated herein, if the market price on the date of grant exceeds the exercise price of the
options the Company must recognize the difference as an expense

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in fact satisfied.

105. Since the date of The Wall Street Journal article which first revealed the unlawful
practice of backdating stock options more than 220 companies have reported internal and/or
governmental investigations of their backdating practices Additional research by Professor Lie
suggests that between 1996 and 2005, 18.9% of unscheduled option grants to top executives
were backdated or manipulated by nearly one-third of the companies investigated

106. As the public scrutiny has intensified, backdating has been revealed not only as a
practice to maximize the grant recipients’ gain while concealing company expenses but also as a
tax avoidance vehicle for some executives Reporting on an analysis written by an economist at
the SEC, the San Jose Mercury News reported, “[i]n a new wrinkle in the scandal over
backdating stock options an analyst has found evidence that some executives manipulated the
exercise dates of their options in order to cheat on their taxes.” Marcy Gordon, SEC: Backdating
Done to Avoid Paying More Taxes, San Jose Mercury News, December 13, 2006, available at
http ://www.mercurynewscom/search/ci_483 193 1.

107. Indeed, like the stock option grants examined by The Wall Street Journal, the
pattern of option grants identified at Getty Images is more than randomly fortuitous and the
more likely reason for the extraordinary pattern is that the stock options were improperly
backdated.

Getty Image_S’ Stock Option Plans

108. During the relevant period that defendants engaged in their secret scheme to
backdate stock options Getty Images had one stock option plan in effect, the 1998 Stock
Incentive Plan (the “1998 Plan”), which has been amended several times since its adoption.

109. Under the 1998 Plan, those eligible to receive stock option awards are “officers or
other key employees or consultants of the Company or a Subsidiary with the potential to
contribute to the future success of the Company or its Subsidiaries.” Each option grant was
evidenced by a stock option agreement between the Company and the employee or consultant to

whom such option was granted.

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110. The Company’s proxy statements also stated that the 1998 Plan was administered
by the Compensation Committee
111. The delegation of the Compensation Committee’s authority to administer the

1998 Plan is permitted under the 1998 Plan but is limited as follows:

The Committee may, but need not, from time to time delegate some or all of its
authority under the Plan to an Administrator consisting of one or more members
of the Committee or of one or more officers of the Company; provided, however,
that the Committee may not delegate its authority (i) to grant Awards to Eligible
Individuals (A) who are subject on the date of the grant to the reporting rules
under Section 16(a) of the Exchange Act, (B) who are Section 162(m)
Participants or (C) who are officers of the Company who are delegated authority
by the Committee hereunder, or (ii) under Sections 3(b) and 17 of the Plan . . . .
Nothing in the Plan shall be construed as obligating the Committee to delegate
authority to an Administrator, and the Committee may at any time rescind the
authority delegated to an Administrator appointed hereunder or appoint a new
Administrator.

112. Further, the exercise price of option grants under the 1998 Plan was determined
by the Compensation Committee Under the 1998 Plan, the exercise price of options must be
“no less than 100% of the Fair Market Value per share on the date of grant,” where fair market
value is defined as “the average of the high and low prices of the Common Stock on such
exchange or such quotation on the date set for valuation.”

113. According to the Company’s proxy statements at all times relevant hereto the
Compensation Committee “review[ed] the compensation of the senior officers of the Company,
including executive bonus plan allocations and [was] responsible for the administration of the
Amended and Restated Getty Images, Inc. 1998 Stock Incentive Plan for the executive officers
of the Company.”

SUBSTANTIVE ALLEGATIONS
Backdating of Getty Images Stock Option Grants

114. As discussed below, 21 out of 25 discretionary grant dates from April 1999 to

February 2002 were backdated, and the pattern of grants was more than fortuitous ~ eight were

made at or near the lowest price of the fiscal year, and fourteen were made at or near the lowest

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price of the fiscal quarter.

115. Merrill Lynch & Co., lnc. (“Merrill Lynch”) published an analysis of options
grants made at various companies in a report dated May 22, 2006 as further evidence that the
returns enjoyed by options grantees at many companies were not by mere chance The report
analyzes the twenty day performance of each option grant reported in a company’s proxy
statements during the relevant backdating period. The analysis also calculates the annualized
return of the option grants at twenty days after the grant and compares that annualized return
with the company’s overall annual return.

116. An application of the Merrill Lynch analysis for all of the stock grants disclosed
in proxy statements from 1999 to 2001 further indicates that the grants were backdated as the
vast discrepancies between the annualized management and annualized investors returns can
only be explained by a practice of backdating. For exarnple, the average annualized return to
management on the option grants identified in the relevant proxy statements for calendar years
1999 to 2001 is 317%, as compared to 38.62% average annualized return to investors - a
difference of 278.37%.

117. From 1999 to 2006, the Compensation Committee and certain directors (Getty,
Klein, Bailey, Garb and Sporborg) knowingly and deliberately violated the terms of the 1998
Plan, APB 25 and Section 162(m) by knowingly and deliberately backdating grants of stock
options to make it appear as though the grants were made on dates when the market price of
Getty Images stock was lower than the market price on the actual grant dates, thereby unduly
benefiting the recipients of the backdated options Defendants Getty, Klein, Bailey, Garb and
Sporborg knew that the publicly reported grant dates and statements that the Company followed
APB 25 and granted options with exercise prices equal to the fair market value of Getty Images
stock on the date of grant were false because the grants were in fact backdated. Defendants
Getty, Klein, Bailey, Garb and Sporborg knowingly and deliberately approved the backdating
scheme with knowledge of its consequences e.g., its effects on Getty lmages’ financial

statements especially because Bailey, Garb and Sporborg were also on the Audit Committee and

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reviewed and oversaw the filing of Getty Images’ financial results

118. Between 1999 and 2006, the defendants repeated in proxy statements that the
stock option grants made during that period carried an exercise price that was equal the fair
market value on the date of grant. However, until 2006, the defendants concealed that the stock
option grants were repeatedly and consciously backdated to ensure that the strike price
associated with the option grants was below fair market value. Upon information and belief, the
Board members and the Compensation Committee members including defendants Getty, Klein,
Bailey, Garb and Sporborg, who issued the grants would review historical stock prices before
issuing stock options to select a grant date when the stock prices was significantly below the
current market price They would then falsify the relevant documents to make it appear as if the
stock options were granted on the earlier date

119. As a result, the executive to whom the options were granted could realize the gain
observed between the historical and actual grant date while the Company’s records would appear
to show no difference between the option price and the market price on the purported date of the
grant, thereby avoiding both the reporting requirement and the additional compensation expense

120. In addition, in order to maximize remuneration to its officers and employees and
to attract non-employee executives to the Company’s ranks without impacting its reported
income, the defendants engaged in a practice of backdating the issue date of stock options to
certain key personnel and other Getty Images employees as admitted in the Company’s April 16,
2007 press release and financial statements filed on June 13, 2007.

121. According to the Company’s Form 10-K for fiscal year 2006 filed with the SEC
on June 13, 2007 (the “2006 Annual Report”), from 1996 to 1998, the Compensation Committee
had the authority to, and did, grant options to employees officers and directors

122. Then, from August 1998 through 2001, the Compensation Committee continued
to grant options to executive officers and created option “pools” from which defendant Klein and

unnamed senior vice presidents were authorized to grant options to employees and non-executive

officers
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123. According to the 2006 Annual Report, these pools were used by the executive
officers to grant options in connection with the hiring and promotion of employees or as
incentive awards

124. The April 16, 2007 press release and the 2006 Annual Report stated that a total of
7,102 option grants and 1,062 RSUs grants were made on 465 occasions during the Relevant

Period, as follows:

“Pool options” in which “pools” of options were approved by the Compensation
Committee for later grant to employees by executive officers (2,277 grants).

. “Acquisition option grants” in which options were granted by the Board of Directors
or Compensation Committee to employees and officers in connection with the
Company’s acquisition of other companies and in which outstanding options held by
employees of acquired companies were exchanged for Getty Images options at pre-
determined conversion ratios (1,464 grants).

~ “Other option grants” which cover all remaining stock option grants during the
Relevant Period (3,361 grants).

. “RSU grants” in which RSUs were granted by the Equity Compensation Committee,
the Compensation Committee and the Board of Directors to employees officers and
directors (1,062 grants).

Backdating of Stock Option Grants

April 9, 1999 Grants

125. The Compensation Committee had the authority to choose the date and, in fact,
did choose the date on which these stock options were granted. For the purported April 9, 1999
stock option grants, Defendants Bailey, Garb and Sporborg, as Compensation Committee
members had the authority to administer the stock option plans and grant stock options
thereunder.

126. Defendants Bailey, Garb and Sporborg were aware that the stock option plans
required that stock options be granted at not less than fair market value on the date of grant.
Defendants Bailey, Garb and Sporborg approved these grants on a date after the reported grant

date and knowingly used hindsight to select a favorable date Defendants Bailey, Garb and

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Sporborg knew that backdating option grants to a date with a lower price violated the 1998 Plan.

127. Defendants Bailey, Garb and Sporborg granted Powell and von Bargen stock
options dated April 9, 1999, knowing that April 9, 1999 was not the date they actually approved
the grants The April 9, 1999 grants were approved by Bailey, Garb and Sporborg on a later
date, occurring between the next trading day on April 10, 1999 and May 5, 1999, the date the
grant was disclosed in a Form 4. Moreover, Defendants Getty and Klein knowingly approved
and participated in the backdating of the April 9, 1999 grant because of their positions and
knowledge of the Company as they were intimately involved in its management Specifically,
Getty and Klein are the co-founders of Getty Images and Klein is the Chief Executive Officer of
Getty Images

128. Defendants Bailey, Garb and Sporborg, with the knowledge of Klein and Getty,
granted stock options to defendants Powell and von Bargen purportedly on April 9, 1999. The
grant was disclosed in Form 4s almost a month later, by which point, Getty Images average

high/low stock price rose $3.505, or 15.04%, following the purported grant date:2

 

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Second Quarter of 1999

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Purported Exercise Number of
Grant Date Name Price Options
04/09/99 Powell $23.32 50,000
von Bargen $23.32 75,000

 

 

 

 

 

 

May 4, 1999 Grants

129. The Compensation Committee had the authority to choose the date and, in fact,
did choose the date on which these stock options were granted. For the May 4, 1999 stock
option grants, Defendants Bailey, Garb and Sporborg, as Compensation Committee members
had the authority to administer the stock option plans and grant stock options thereunder.

130. Defendants Bailey, Garb and Sporborg were aware that the stock option plans
required that stock options be granted at not less than fair market value on the date of grant.
Defendants Bailey, Garb and Sporborg approved these grants on a date after the reported grant
date and knowingly used hindsight to select a favorable date Defendants Bailey, Garb and
Sporborg knew that backdating option grants to a date with a lower price violated the 1998 Plan,

131. Defendants Bailey, Garb and Sporborg granted Evans-Lombe and Roling stock
options purportedly on May 4, 1999, knowing that May 4, 1999 was not the date that they
approved the grant. Moreover, Defendants Getty and Klein approved and participated in the

backdating of the May 4, 1999 grants Defendants Getty, Klein Bailey, Garb and Sporborg knew

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that the May 4, 1999 grant was approved by Bailey, Garb and Sporborg on a later date, occurring
the next trading day on May 5, 1999 or May 6, 1999 when Getty Images average high/low stock

price rose $2.34, or 8.73%, following the purported grant date:

 

Second Quarter of 1999

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Purported . Exercise Number of
Grant Date Name Price Options3
05/04/99 Evans-Lombe $26.82 at least 30,000
Roling $26.82 10,000

 

 

 

 

 

 

July 6, 1999. Julv 27, 1999, and August 3, 1999 Grants

132. The Compensation Committee had the authority to choose the dates and, in fact,
did choose the dates on which these stock options were granted. For the purported July 6, 1999,
July 27, 1999 and August 3, 1999 stock option grants, Defendants Bailey, Garb and Sporborg, as
Compensation Committee members had the authority to administer the stock option plans and
grant stock options thereunder.

133. Defendants Bailey, Garb and Sporborg were aware that the stock option plans
required that stock options be granted at not less than fair market value on the date of grant.
Defendants Bailey, Garb and Sporborg approved these grants on dates after the reported grant
dates and knowingly used hindsight to select dates when Getty lmages’ stock was at quarterly or
yearly lows. Defendants Bailey, Garb and Sporborg knew that backdating option grants to a date
with a lower price violated the 1998 Plan,

134. Defendants Bailey, Garb and Sporborg granted Powell, Evans-Lombe, Ferguson,
Gurke and Roling stock options dated July 6, 1999, July 27, 1999 and August 3, 1999, knowing
that these grants were actually approved on the later date The actual grant date of the July 6,
1999 grant is estimated to be between July 8, 1999 and the end of the year on December 31,
1999, and the actual grant dates of the July 27, 1999 and August 3, 1999 grants are estimated to
be between the next trading day of those grants and December 31, 1999. Moreover, Defendants

Getty and Klein knowingly approved and participated in the backdating of the July 6, 1999, July

 

3 Where the total number of options is unknown, i.e. where the phrase “at least” is utilized, the
stock option grant did not appear in any proxy statements filed by the Company but was first
disclosed in Form 4 filings which only included the number of options pursuant to the grant
that were exercised and left unexercised on the transaction date

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27, 1999 and August 3, 1999 grants because of their positions and knowledge of the Company as
they were intimately involved in its management

135. Defendants Bailey, Garb and Sporborg, with the knowledge of Klein and Getty,
granted stock options to defendants Powell, Evans-Lombe, Ferguson, Gurke and Roling
backdated to July 6, 1999, July 27, 1999 and August 3, 1999, which coincided with Getty

Images’ lowest stock prices of the fiscal quarter and year as shown below:

 

Third Quarter of 1999

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Purported Exercise Number of
Grant Date Name Price Options
07/06/99 Powell $18.32 25,000
07/27/99 Evans-Lombe $18.44 at least 30,000
08/03/99 Ferguson $18.33 at least 3,500
Gurke $18.33 at least 3,000
Roling $18.33 15,000

 

October 22, 1999 and October 25, 1999 Grants

136. The Compensation Committee had the authority to choose the dates and, in fact,
did choose the dates on which these stock options were granted. For the purported October 22,
1999 and October 25, 1999 stock option grants, Defendants Bailey, Garb and Sporborg, as
Compensation Committee members had the authority to administer the stock option plans and
grant stock options thereunder.

137. Defendants Bailey, Garb and Sporborg were aware that the stock option plans
required that stock options be granted at not less than fair market value on the date of grant
Defendants Bailey, Garb and Sporborg approved these grants on dates after the reported grant
dates and knowingly used hindsight to select dates when Getty Images’ stock was at quarterly or
yearly lows. Defendants Bailey, Garb and Sporborg knew that backdating option grants to a date
with a lower price violated the 1998 Plan.

138. Defendants Bailey, Garb and Sporborg granted stock options to Klein, Getty,
Roling, Powell, von Bargen, Evans-Lombe, Ferguson, Gurke and Woodhouse that were
backdated to October 22, 1999 and October 25, 1999 with the knowledge that October 22, 1999
and October 25 , 1999 were not the dates that they approved the grants Furthermore, Defendants
Klein and Getty also knew that the grants were backdated. The actual grant dates of the October
22, 1999 and October 25, 1999 grants are between the next trading day and December 31, 1999.

139. Defendants Bailey, Garb and Sporborg, with the participation and knowledge of
Klein and Getty, granted stock options to defendants Klein, Getty, Roling, Powell, von Bargen,
Evans-Lombe, Ferguson, Gurke and Woodhouse backdated to October 22, 1999 and October 25,

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1999 when Getty Images’ stock price was at or near quarterly and yearly lows, as shown below:

 

 

Fourth Quarter of 1999

 

 

 

 

 

 

 

 

 

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Purported Exercise Number of
Grant Date Name Price Options
10/22/99 Klein $19.07 15,000
Getty $19.07 15,000
Roling $19.07 15,000
Powell $19.07 15,000
von Bargen $19.07 40,000
Evans-Lombe $l9.07 at least 15,000
Ferguson $19.07 at least 7,500
Gurke $19.07 at least 7,500
10/25/99 Woodhouse $19.38 at least 2,000

 

 

February l, 2000 Grants
140. The Compensation Committee had the authority to choose the date and, in fact,

did choose the date on which these stock options were granted. For the February l, 2000 stock
option grants, Defendants Bailey, Garb and Sporborg, as Compensation Committee members,
had the authority to administer the stock option plans and grant stock options thereunder.

l4l. Defendants Bailey, Garb and Sporborg were aware that the stock option plans
required that stock options be granted at not less than fair market value on the date of grant.
Defendants Bailey, Garb and Sporborg approved these grants on a date after the reported grant
date and knowingly used hindsight to select a favorable date. Defendants Bailey, Garb and
Sporborg knew that backdating option grants to a date with a lower price violated the 1998 Plan.

142. Defendants Bailey, Garb and Sporborg granted Ferguson and Gurke stock options
purportedly on February l, 2000, knowing that February l, 2000 was not the date that they
approved the grants, Moreover, Defendants Getty and Klein knowingly approved and
participated in the backdating of the February l, 2000 grants. Defendants Getty, Klein Bailey,
Garb and Sporborg knew that the February l, 2000 grants were approved by Bailey, Garb and
Sporborg on a later date, occurring between February 2, 2000 and March 3, 2006 when the
Company’s stock price was at the highest price of the quarter.

143. In fact, in a little over a month, Getty Images average high/low stock price rose

AMENDED SHAREHOLDER VERIFIED LAw OFFlcEs oF
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(No. C 07-0317 JLR) sammsazrriiszr?,a\t/thA`ia%oiE-7033

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$23.185, or 60%, by March 3, 2006 subsequent to the purported grant date. Furthermore, the
purported grant date coincides with one of Getty Images’ lowest Stock price of the entire quarter,

as shown below:

 

First Quarter of 2000

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Purported Exercise Number of
1 grant Dth Name Price Opti<ms

02/01/00 Ferguson $38.625 at least 400

Gurke $38.625 at least 400

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DERlVATlVE COMPLAINT ' 3 8 ' CLIFFORD A. CANTOR, P.C.

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April 28, 2000 Grants
144. The Compensation Committee had the authority to choose the date and, in fact,

did choose the date on which these stock options were granted. For the April 28, 2000 stock
option grants, Defendants Bailey, Garb and Sporborg, as Compensation Committee members,
had the authority to administer the stock option plans and grant stock options thereunder.

145. n Defendants Bailey, Garb and Sporborg were aware that the stock option plans
required that stock options be granted at not less than fair market value on the date of grant.
Defendants Bailey, Garb and Sporborg approved these grants on a date after the reported grant
date and knowingly used hindsight to select a favorable date, Defendants Bailey, Garb and
Sporborg knew that backdating option grants to a date with a lower price violated the 1998 Plan.

146. Defendants Bailey, Garb and Sporborg granted stock options to Getty and Klein
that were backdated to April 28, 2000, Bailey, Garb and Sporborg knew that April 28, 2000 was
not the date that they approved the grant and thus approved the backdating of the April 28, 2000
grants. Defendants Klein and Getty, because of their positions with the Company, also knew that
the April 28, 2000 grant was granted at a later date - some time between the next trading day on
May l, 2000 and May 23, 2000, the day before the next grant date.

147. Moreover, Getty and Klein, the co-founders of the Company, were each granted
at least 400,000 stock options purportedly dated on April 28, 2000 when Getty lmages average
high/low stock price rose $4.685, or 15.45%, in the 5 trading days following the purported grant
date. Furthermore, the April 28, 2000 grants were dated near the lowest stock price of the fiscal

quarter, as shown below:

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Second Quarter of 2000

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Purported Exercise Number of
Grant Date Name Price Options
04/28/00 Getty 830.32 at least 400,000
Klein $30.32 at least 400,000

 

May 24, 2000 and Mav 30, 2000 Grants
148. The Compensation Committee had the authority to choose the dates and, in fact,
did choose the dates on which these stock options were granted. For the purported May 24, 2000

and May 30, 2000 stock option grants, Defendants Bailey, Garb and Sporborg, as Compensation

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Committee members, had the authority to administer the stock option plans and grant stock
options thereunder._

149. Defendants Bailey, Garb and Sporborg were aware that the stock option plans
required that stock options be granted at not less than fair market value on the date of grant.
Defendants Bailey, Garb and Sporborg approved these grants on dates after the reported grant
dates and knowingly used hindsight to select dates when Getty lmages’ stock was at quarterly or
yearly lows. Defendants Bailey, Garb and Sporborg knew that backdating option grants to a date
with a lower price violated the 1998 Plan,

150. Defendants Bailey, Garb and Sporborg granted stock options to Klein, Getty and
Miskimens that were backdated to May 24, 2000 and May 30, 2000 with the knowledge that
May 24, 2000 and May 30, 2000 were not the dates that they approved the grants, Furthermore,
Defendants Klein and Getty also knew that the grants were backdated. The actual grant date of
the May 24, 2000 grants is between May 25, 2000 and June 20, 2000, the date that the grant was
disclosed in a Form 4, by which point the Getty Images’ stock price had increased by $8.875, or
31%. The actual grant date of the May 30, 2000 grant to Miskimens is between the next trading
day and December 31, 1999.

151. Defendants Bailey, Garb and Sporborg, with the participation and knowledge of
Klein and Getty, granted stock options to defendants Klein, Getty and Miskimens backdated to
May 24, 2000 and May 30, 2000 when Getty Images’ stock price was at or near a quarterly and

yearly low, as shown below:

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Second Quarter of 2000
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Purported Exercise Number of
Grant Date Name Price Options
05/24/00 Klein $28.63 400,000
Getty $28.63 400,000
05/30/00 Miskimens $29.10 at least 10,000

 

 

August 28, 2000 Grant
152.

The Compensation Committee had the authority to choose the date and, in fact,

 

 

 

 

 

did choose the date on which these stock options were granted, For the August 28, 2000 stock

option grants, Defendants Bailey, Garb and Sporborg, as Compensation Committee members,

AMENDED SHAREHOLDER VERIFIED
DERIVATIVE COMPLAINT
(No. C 07-0317 JLR)

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had the authority to administer the stock option plans and grant stock options thereunder.

153. Defendants Bailey, Garb and Sporborg were aware that the stock option plans
required that stock options be granted at not less than fair market value on the date of grant.
Defendants Bailey, Garb and Sporborg approved these grants on a date after the reported grant
date and knowingly used hindsight to select a favorable date. Defendants Bailey, Garb and
Sporborg knew that backdating option grants to a date with a lower price violated the 1998 Plan.

154. Defendants Bailey, Garb and Sporborg granted stock options to defendant Albers
purportedly on August 28, 2000. However, Bailey, Garb and Sporborg who approved the grant
knew that August 28, 2000 was not the actual date of their approval of the grant, which actually
took place at a later date _ sometime between the next trading day on August 30, 2000 and
September 19, 2000. Because of their involvement in the running of the Company, defendants
Klein and Getty also knew that the August 28, 2000 grant to Albers was backdated.

155. Defendants Klein, Getty, Bailey, Garb and Sporborg approved the stock options
purportedly granted to Albers on August 28, 2000 when Getty Images’ average high/low stock
price had dropped significantly before August 28, 2000 and rose $2.245, or 5.6%, in the ten

trading days subsequent to the purported grant:

 

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Purported Exercise Number of
Grant Date Name Price Options
08/28/00 Albers $40.41 25,000

 

 

 

 

 

 

October 1 1 2000 Grants

 

156. The Compensation Committee had the authority to choose the date and, in fact,
did choose the date on which these stock options were granted For the purported October 11,
2000 stock option grants, Defendants Bailey, Garb and Sporborg, as Compensation Committee
members, had the authority to administer the stock option plans and grant stock options
thereunder.

157. Defendants Bailey, Garb and Sporborg were aware that the stock option plans
required that stock options be granted at not less than fair market value on the date of grant.
Defendants Bailey, Garb and Sporborg approved these grants on a date after the reported grant
date and knowingly used hindsight to select dates when Getty Images’ stock was at a quarterly or
yearly low. Defendants Bailey, Garb and Sporborg knew that backdating option grants to a date
with a lower price violated the 1998 Plan.

158. Defendants Bailey, Garb and Sporborg, with the participation and knowledge of
Klein and Getty, granted stock options to Woodhouse and Albers dated October 11, 2000

knowing that October ll, 2000 was not the date that they approved the grants. The actual grant

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date of the October 11, 2000 grants is between October 13, 2000 and December 31, 2000.

159. Defendants Woodhouse and Albers received stock option grants purportedly
dated on October 11, 2000 when the Company’s average high/low price dropped significantly
before the purported grant date and rose approximately $7.30, or 29%, in just 20 trading days. ln
addition, the purported October 11, 2000 option grant was dated to coincide with one of Getty

Images’ lowest stock prices of the entire fiscal quarter and year, as demonstrated in the following

charts:

 

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Purported Exercise Number of
Grant Date Name Price Options
10/11/00 Woodhouse $24.78 at least 25,000
Albers $24.78 25,000

 

March 30, 2001 Grants

160. The Compensation Committee had the authority to choose the date and, in fact,
did choose the date on which these stock options were granted, For the purported March 30,
2001 stock option grants, Defendants Bailey, Garb and Sporborg, as Compensation Committee
members, had the authority to administer the stock option plans and grant stock options
thereunder.

161. Defendants Bailey, Garb and Sporborg were aware that the stock option plans
required that stock options be granted at not less than fair market value on the date of grant.
Defendants Bailey, Garb and Sporborg approved these grants on a date after the reported grant
date and knowingly used hindsight to select dates when Getty Images’ stock was at a quarterly
low. Defendants Bailey, Garb and Sporborg knew that backdating option grants to a date with a
lower price violated the 1998 Plan.

162. Defendants Bailey, Garb and Sporborg, with the knowledge and participation of
Klein and Getty, granted stock option to defendants Klein, Getty, von Bargen, Huebner, Albers,
Beyle, Evans-Lombe, Ferguson, Gurke, Miskimens, O’Neill and Woodhouse backdated to
March 30, 2001, which coincided With the Company’s second lowest stock price of the first
fiscal quarter of fiscal 2001, as demonstrated in the charts below. Notably, these grants were
recorded in Form 4s filed with the SEC on April 6, 2001 (after the end of the fiscal quarter) with
a grant date of March 22, 2001, which is the date of the lowest stock price of the fiscal quarter,
and then Was later changed in Amended Form 4s filed with the SEC in late-2002. As such, the .

actual grant date of the March 30, 2001 stock option some time occurred before April 6, 2001.

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First Quarter of 2001

 

 

 

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Purported Exercise Number of
Grant Date Name Price Options
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Getty $16.85 50,000
von Bargen $16.85 20,000
Huebner $16.85 35,000
Albers $16.85 25,000
Beyle $16.85 at least 18,500
Evans-Lombe $16.85 at least 20,000
Ferguson $16.85 at least 10,000
Gurke $16.85 at least 15,000
Miskimens $16.85 at least 9,375
O’Neill $16.85 at least 30,000
Woodhouse $16.85 at least 30,000

 

May 7, 2001 and June 26, 2001 Grants to Klein

163. The Compensation Committee had the authority to choose the dates and, in fact,
did choose the dates on which these stock options were granted. For the purported May 7, 2001
and June 26, 2001 stock option grants to Klein, Defendants Bailey, Garb and Sporborg, as
Compensation Committee members, had the authority to administer the stock option plans and
grant stock options thereunder.

164. Defendants Bailey, Garb and Sporborg were aware that the stock option plans

required that stock options be granted at not less than fair market value on the date of grant.

Defendants Bailey, Garb and Sporborg approved these grants on dates after the reported grant

dates and knowingly used hindsight to select favorable dates. Defendants Bailey, Garb and
Sporborg knew that backdating option grants to a date with a lower price violated the 1998 Plan.
165. Defendants Bailey, Garb and Sporborg granted stock options to defendant Klein
purportedly on May 7, 2001 and June 26, 2001. However, Bailey, Garb and Sporborg who
approved the grant, along with Klein and Getty, knew that May 7, 2001 and June 26, 2001 were
not the actual dates of their approval of the grants, which actually took place at later dates. The

actual grant date of the May 7, 2001 grant is estimated to be between May 18, 2001 and June 25,

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2001, the day before the next grant date, and the actual grant date of the June 26, 2001 grant is
estimated to be between June 29, 2001 and July 9, 2001.

166. The May 7, 2001 and June 26, 2001 grants to Klein coincided with Getty Images’
historical low prices and were dated when the stock price increased significantly afterwards. The
purported May 7, 2001 grant was dated when Getty Images average high/low stock price rose
$6.785, or 26.68%, in just over 20 trading days. The June 26, 2001 grant was backdated to when

Getty Images’ average high/low stock price dropped significantly before June 26, 2001 and rose

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$1.03, or 4.2%, in less than 10 trading days following the purported grant date.

 

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Second Quarter of 2001

 

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AMENDED SHAREHOLDER VERIFIED
DERIVATIVE COMPLAINT
(No. C 07-0317 JLR)

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Purported Exercise Number of

grant !)ate Name Price Options
05/07/01 Klein $25.43 232~000
06/26/01 Klein $25.43 170.000

 

 

 

 

 

 

July 17, 2001 and Julv 23, 2001 Grants

167. The Compensation Committee had the authority to choose the dates and, in fact,
did choose the dates on Which these stock options were granted. For the purported July 17, 2001
and July 23, 2001 stock option grants to Beyle, Miskimens, Woodhouse and Sporborg,
Defendants Bailey, Garb and Sporborg, as Compensation Committee members, had the authority
to administer the stock option plans and grant stock options thereunder.

168. Defendants Bailey, Garb and Sporborg were aware that the stock option plans
required that stock options be granted at not less than fair market value on the date of grant.
Defendants Bailey, Garb and Sporborg approved these grants on dates after the reported grant
dates and knowingly used hindsight to select favorable dates. Defendants Bailey, Garb and
Sporborg knew that backdating option grants to a date with a lower price violated the 1998 Plan.

169. Defendants Bailey, Garb and Sporborg granted stock options to defendant Klein
purportedly on July 17, 2001 and July 23, 2001. However, Bailey, Garb and Sporborg who
approved the grants, along with Klein and Getty, knew that July 17, 2001 and July 23, 2001 were
not the actual dates of their approval of the grants, which actually took place at later dates. The
actual grant date of the July 17, 2001 grant is estimated to be between July 27, 2001 and August
8, 2001, and the actual grant date of the July 23, 2001 grant is estimated to be between July 26,
2001 and September 4, 2001.

170. The stock options purportedly granted on July 17, 2001 and July 23, 2001 were
dated to coincide with historically low stock prices. The Company’s average high/low stock
price dropped significantly before the purported grant dates and rose approximately $3.50, or
8.5%, within 10 trading days, as demonstrated in the chart below. Remarkably, the July 17, 2001
and July 23, 2001 grants were purportedly made subsequent to the July 10, 2001 earnings

release, which reported below expected earnings and which, as expected, caused the stock price

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to drop significantly, as demonstrated beloW:

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Third Quarter of 2001
27
24 07/23/01
21 $15.80
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12 $16.94
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Fiscal Year 2001
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Purported Exercise Number of
Grant Date N amc Price Options
07/17/01 Beyle $16.94 at least 25 ,000
Miskimens $l6.94 at least 5,569
Woodhouse $l6.94 at least 25,000
07/23/01 Sporborg $15.80 at least 8,333

 

 

October 9, 2001 and October 15, 2001 Grants

 

17l.

AMENDED SHAREHOLDER VERIFIED
DERIVATIVE COMPLAINT
(No. C 07-0317 JLR)

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The Compensation Committee had the authority to choose the dates and, in fact,

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did choose the dates on which these stock options were granted. For the purported October 9,
2001 and October 15, 2001 stock option grants, Defendants Bailey, Garb and Sporborg, as
Compensation Committee members, had the authority to administer the stock option plans and
grant stock options thereunder.

172. Defendants Bailey, Garb and Sporborg were aware that the stock option plans
required that stock options be granted at not less than fair market value on the date of grant.
Defendants Bailey, Garb and Sporborg approved these grants on dates after the reported grant
dates and knowingly used hindsight to select dates when Getty Images’ stock was at a quarterly
low. Defendants Bailey, Garb and Sporborg knew that backdating option grants to a date with a
lower price violated the 1998 Plan,

173. Compensation Committee members Bailey, Garb and Sporborg granted stock
options to defendants Ferguson, Gurke, Miskimens, Klein, Getty, Huebner, Albers, Beyle,
Blackwell, Evans-Lombe and Woodhouse purportedly on October 9, 2001 and October 15, 2001,
which Bailey, Garb and Sporborg, as Well as Klein and Getty, knew were not the actual grant
dates. The actual dates of the Compensation Committee’s approval of the October 9, 2001 and
October 15, 2001 grants occurred between October 24, 2001 and December 31, 2001.

174. Defendants Bailey, Garb and Sporborg, with the participation and knowledge of
Klein and Getty, backdated the stock option grants purportedly dated October 9, l2001 and
October 15, 2001 to coincide with Getty Images’ lowest stock prices of the fourth fiscal quarter

of 2001, as demonstrated in the chart below:

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Fourth Quarter of 2001

 

 

 

 

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19 7 10/09/01*110/15/01’
$12.82

 

 

 

 

 

 

 

 

 

 

 

 

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Purported Exercise Number of
Grant Date Name Price Options
10/09/01 Ferguson $l2.82 at least 10,000
Gurke 812.82 at least 10,000
Miskimens 1312.82 at least 4,000
10/15/01 Klein $12.41 50,000
Getty $12.41 50,000
Huebner $ 12.41 20,000
Albers $12.41 20,000
Beyle $l2.4l at least 20,000
Blackwell $12.41 at least 10,000
Evans-Lombe $12.41 at least 20,000
Woodhouse $l2.4l at least 10,000

 

February 5, 2002 Grant

175. The Compensation Committee had the authority to choose the date and, in fact,
did choose the date on which these stock options were granted, For the purported February 5,
2002, Defendants Bailey, Garb and Sporborg, as Compensation Committee members, had the
authority to administer the stock option plans and grant stock options thereunder.

176. Defendants Bailey, Garb and Sporborg were aware that the stock option plans
required that stock options be granted at not less than fair market value on the date of grant.
Defendants Bailey, Garb and Sporborg, with the knowledge and participation of Klein and Getty,
approved these grants on a date after the reported grant date and knowingly used hindsight to
select dates when Getty Images’ stock was at a quarterly low. Defendants Bailey, Garb and
Sporborg knew that backdating option grants to a date with a lower price violated the 1998 Plan,

177. Defendants Bailey, Garb and Sporborg, as Compensation Committee members,
granted Defendant Evans-Lombe stock options dated February 5, 2002, knowing that it was not
the date they actually approved the grant. With the knowledge Klein and Getty, Defendants
Bailey, Garb and Sporborg actually approved the February 5, 2002 grant on a later date,
occurring between February 7, 2002 and the end of the fiscal year. The February 5, 2002 grant

to Evans-Lombe coincided with Getty Images’ lowest stock price of the first fiscal quarter of

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2002, as demonstrated in the chart below:

First Quarter of 2002

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28
26 02/05/02
24 $19.43

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Fiscal Year 2002

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Purported Exercise Number of
Grant Date Name Price Options
02/05/02 Evans-Lombe $19.43 at least 25,000

 

 

 

 

 

 

178. Each and every one of the aforementioned stock option grants were dated just
before a significant increase in Getty Images’ stock price and/or at or near Getty Images’ lowest
closing stock price of the pertinent fiscal year. The reason for the extraordinary pattern set forth

in the preceding paragraphs is that the purported grant dates set forth therein were not the actual

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dates on which the stock option grants were made. Rather, at the behest of the option recipients
(Getty, Klein, Sporborg, Albers, Beyle, Blackwell, Evans-Lombe, Ferguson, Gurke, Huebner,
Miskimens, O’Neill, Powell, Roling, von Bargen and Woodhouse), Defendants Bailey, Garb and
Sporborg as well as Klein and Getty improperly backdated the stock option grants to make it
appear as though the grants were made on dates when the market price of Getty Images stock
was lower than the market price on the actual grant dates. This improper backdating, which
violated the terms of the 1998 Plan, resulted in option grants with lower exercise prices, which
improperly increased the value of the options to defendants Getty, Klein, Sporborg, Albers,
Beyle, Blackwell, Evans-Lombe, Ferguson, Gurke, Huebner, Miskimens, O’Neill, Powell,
Roling, von Bargen and Woodhouse and improperly reduced the amounts they had to pay the
Company upon exercise of the options.

179. In addition, prior to the enactment of the Sarbanes-Oxley Act of 2002 (“SOX”),
defendants Klein, Getty, Bailey, Garb and Sporborg were able to engage in backdating of option
grants with relative ease because under federal law they were only required to report option
grants to the SEC once a year.

180. Pursuant to SOX, beginning on August 29, 2002, executives and directors were
required to report option grants to the SEC within two days of the grant. With this new reporting
requirement in place, the pattern of backdating options seen previously from 1999 through 2002
came to an end. As discussed inj$‘a and as admitted by the Company in its April 16, 2007 press
release, most of the backdated grants at Getty Images “were made before 2002.” Indeed, the last
backdated stock option grant at Getty Images was February 5, 2002, six months before the
reporting requirements of SOX became effective.

181. Indeed, 21 of the 25 discretionary pre-SOX grants made since April 1999
coincided with historically low closing prices. Specifically, 8 of the 25 grants were dated at or
near yearly lows, and 14 of the 25 grants Were dated at or near quarterly lows. The odds of

hitting that many quarterly and yearly lows are astronomical and thus cannot be the result of

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182. There were five remaining option grants made during the relevant period that
were non-discretionary option grants and thus are not claimed to have been backdated. The five
option grants dated October 4, 1999, April 6, 2000, October 9, 2000, November 27, 2000 and
November 12, 2001 were awarded to employees as new hire grants and are dated when those
individuals began employment With Getty Images.

Merrill Lynch Analysis

183. The subject of options backdating has been the focus of numerous financial
analysts and experts. One reputable source, Merrill Lynch, has set forth an analytical framework
to determine Whether options Were backdated. The Merrill Lynch analysis is set forth in a May
22, 2006 report. The analysis analyzes the twenty day performance of each option grant reported
in a company’s proxy statements during the relevant backdating period. The analysis also
calculates the annualized return of the option grants at twenty days after the grant and compares
that annualized return With the company’s overall annual return.

184. Accordingly, Plaintiff analyzed stock option grants made from 1999 to 2001 that
were disclosed in Getty Images’ proxy statements using the same analysis as Merrill Lynch.
Backdating is indicated under the Merrill Lynch analysis.4

185. Applying the Merrill Lynch analysis, the following result occurs: annualized
investor returns Were 176.26% in 1999, -34.03% in 2000, and -26.37% in 2001. Next, a
comparison of the twenty day and annualized returns to management on the subject grants Was
undertaken.

186. Applying the Merrill Lynch analysis for the option grants in 1999, the average
twenty day return is 25.57%, or 460.31% annualized, as compared to 176.26% annualized return

to investors in 1999 - a difference of 280.05%.

 

4 As disclosed in the pertinent proxy statements, there Were no options granted to any of the top
officers during the year 2002.

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187. Applying the Merrill Lynch analysis for the option grants in 2000, the average
twenty day return is 10.22%, or 183.91% annualized, as compared to -34.03% annualized return
to investors in 2000 - a difference of 217.94%.

188. Applying the Merrill Lynch analysis for the option grants in 2001, the average
twenty day return is 17.04%, or 306.76% annualized, as compared to -26.37% annualized return
to investors in 2001 - a difference of 333.13%.

_189. The average annualized return to management on the option grants identified in
the relevant proxy statements for calendar years 1999 to 2001 is 317%, as compared to 38.62%
average annualized return to investors - a difference of 278.37%.

190. The vast discrepancies between the annualized management and annualized
investors’ returns demonstrate that Getty Images stock options were opportunistically granted to
Company insiders in order to provide them with greater financial gains on their Getty Images
stock options than were achieved in the open market. Such a dramatically beneficial pattern of
option grant dates can only reasonably be explained by backdating,

-Gettv Images’ Admission of Backdating and the Internal Investigation

191. On April 16, 2007, Getty Images issued a press releasing announcing the
completion of its Special Committee investigation and admitting that the Special Committee
“identified certain awards for which grant dates were selected retroactively. ”

Getty Images, Inc. (NYSE: GYI) (the “Company” or “Getty Images”), the world’s
leading creator and distributor of visual content, today announced that an
independent special committee of its board of directors (the “Special Committee”)
has completed its internal investigation of the Company’s equity compensation
grant practices.

As previously announced on November 9, 2006, the Special Committee was
established by Getty Images’ Board of Directors to conduct an independent
investigation relating to the Company’s equity compensation grant practices and
related accounting for equity compensation grants. The Special Committee
consists of two independent members of Getty Images’ Board of Directors, Alan
G. Spoon and Michael A. Stein, the chair of the Audit Committee. The Special
Committee was assisted in the investigation by independent outside legal counsel
Orrick, Herrington & Sutcliffe LLP.

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Together with its independent counsel, the Special Committee conducted an
extensive review of equity compensation grant practices and awards made by the
Company, between July 14, 1994 and November 1, 2006 (the “Relevant Period”),
which covered 7,102 stock option grants and 1,062 restricted stock unit (“RSU”)
grants made on 465 occasions. During the investigation, numerous documents
were reviewed, and extensive interviews of current and former employees of the
Company and other individuals were conducted by the Special Committee’s
independent counsel.

As also previously announced on November 9, 2006, the Securities and Exchange
Commission (the “SEC”) had earlier notified the Company that it is conducting an
informal inquiry into the Company’s equity compensation grant practices. The
Company continues to cooperate fully with the SEC in this informal inquiry.

The Special Committee’s Conclusions

***

The Special Committee and the Company’s management have determined that
incorrect measurement dates for certain equity compensation awards made during
the Relevant Period were used for financial accounting purposes and, as a result,
the Company will restate its prior financial statements to correct the accounting
for those awards. The use of incorrect measurement dates resulted from a number
of reasons, including delays in the approval of awards, the absence of definitive
documentation and modifications of previously awarded grants. T he Special
Committee also identified certain awards for which grant dates were selected
retroactively . . . . Nearly all of the grants for which the measurement dates are
being changed (approximately 98% of the grants) were awarded in 2001 and
earlier years. The Company anticipates that the restatement will involve total pre-
tax, non-cash stock-based compensation expense of approximately 828 million to
$32 million, of which approximately 95% will be expensed in 2002 and earlier
years. Because these estimates are preliminary and we have not quantified all of
the tax impacts, the net after tax amounts to be restated have not yet been
determined by the Company.

The Company also has decided to implement certain remedial measures
recommended by the Special Committee and endorsed by the Board of Directors
in order to ensure reliability, transparency and accuracy in its equity compensation
grant practices and accounting for its equity compensation program going
forward. These remedial measures are described below.

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A total of 7,102 option grants and 1,062 RSUs grants were made on 465 occasions
during the Relevant Period . . . . T he Special Committee and the Company have
determined that it is necessary to revise the measurement dates for
approximately 3, 700 of these grants, covering grants made on approximately
130 occasions. Over half of the grants for which the measurement dates are being
revised relate to an all-employee award in February of 2000 pursuant to which
400 options were granted to all employees below vice president level.

Changes in Connection with Equity Compensation Grant Practices

In addition to the adjustment to the Company’s previously filed financial
statements as described above, as a result of this review, the Special Committee
has recommended, and the Board of Directors has adopted, the following changes
to improve the Company’s equity compensation grant practices.

. Two additional independent directors will be recruited and appointed to the
Company’s Board of Directors.

o Membership of the Audit and Compensation Committees of the Board of
Directors will be changed.

. The Equity Compensation Committee has been discontinued

~ Enhancements will be made in the oversight of the Company’s corporate
governance practices with respect to the Company’s equity compensation
programs.

. Senior management will be charged with ensuring that the equity
compensation policies and processes are appropriate and provide effective
controls, and that the Company’s accounting for equity compensation is
appropriate.

~ Certain of the Company’s equity compensation administrative processes and
functions will move from the Company’s human resources organization to the
finance organization, under the supervision of the Chief Financial Officer.

~ The Board of Directors has unanimously adopted an Equity Compensation
Grant Policy on April 10, 2007, which provides, among other things, that:

. All terms of each equity grant must be finalized and approved by the
Board of Directors or the Compensation Committee on or prior to the grant
date;

~ All stock options must have an exercise price equal to or greater than the
average of the high and low prices on the grant date',

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~ All recipients of equity grants must be notified, in writing, of such grants
as soon as possible following approval;

. Any equity compensation issues or actions will be reported by senior
management on a timely basis to the Board of Directors or the
Compensation Committee, no less frequently than quarterly.

192. On June 13, 2007, the Company filed with the SEC its 2006 Armual Report,
which restated its financial reports to account for additional compensation expenses in the
amount of $27 million. In addition to the Special Committee’s conclusions and
recommendations also announced in the April 16, 2007 press release, the 2006 Annual Report

also disclosed that:

The Special Committee and the company have determined that it is necessary to
revise the measurement dates for approximately 45% of these awards (“Adjusted
Options”). Over half of the awards for which the measurement date is being
revised relate to the company’s only all employee grant in February of 2000 to
employees below the vice president level. In addition, the measurement dates for
many awards were revised due to: (i) the use of the date of the approval of a pool
of options as the measurement date as opposed to the date that the terms of each
grant were finalized; (ii) the use of the date that a Unanimous Written Consent
approving equity awards was faxed to Compensation Committee members for
their approval, rather than the date when the approvals of the Compensation
Committee members had been faxed back, as the measurement date for the
associated grants; and (iii) the absence of a detailed list of recipients and
associated grants prior to the date certain grants were entered into our equity
award tracking system.

We previously applied Accounting Principles Board (“APB”) Opinion No. 25,
“Accounting for Stock Issued to Employees,” and its related lnterpretations and
provided the required pro forma disclosures under Statement of Financial
Accounting Standards (“SFAS”) No. 123, “Accounting for Stock-Based
Compensation,” through our fiscal year ended December 31, 2005. We have used
the accelerated method of expensing stock options provided in Financial
Accounting Standards Board Interpretation No. 28, “Accounting for Stock
Appreciation Rights and Other Variable ,Stock Option or Award Plans” for
recording expense and for our pro forma disclosures. Under APB Opinion No. 25,
a non-cash, stock-based compensation expense was required to be recognized for
any option for which the exercise price was below the market price on the
measurement date, Because most of the company’s Adjusted Options had an
exercise price below the market price on the measurement date, there should have

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been a non-cash charge for each of these options under APB Opinion No. 25 equal
to the number of option shares, multiplied by the difference between the exercise
price and the market price on the measurement date. That expense should have
been amortized over the service period of the option.

The company also reviewed modifications made to previously granted options and
determined that we did not record the appropriate amount of compensation
expense for some of the modifications (“Modified Options”). We did not record
the appropriate amount of stock-based compensation expense under APB Opinion
No. 25 related to Adjusted or Modified Options in our previously issued financial
statements, and are recording these expenses in this Annual Report on Form lO-K.

193. ln sum, the Special Committee and the Company have determined that
approximately 3,700 grants made on 130 occasions were misdated. ln addition, because of the
measurement date errors, Company has adjusted its financial results for the material
compensation expenses and thus has issued a restatement to account for the additional stock-
based compensation expenses.

194. Although Getty Images admitted to such egregious misconduct, Getty Images
claimed that “the Special Committee concluded that the evidence obtained and reviewed in its
investigation did not establish any intentional wrongdoing by current employees, officers or
directors of the Company.” Such a statement cannot be squared with the striking pattern of the
1999-2002 stock option grants set forth above, which demonstrates knowing and intentional
backdating to dates when Getty Images stock was at historical lows.

195. Moreover, the Special Committee’s conclusion conflicts with the Company’s own
admissions that there was backdating of option grants before 2002, when current directors,
Defendants Klein, Getty, Bailey, Garb and Sporborg, were on the Board and/or the
Compensation Committee. The act of backdating stock options, by its very nature, is a knowing
and intentional act. As such, these defendants should be held accountable for participating in the
backdating scheme. In addition, the Company failed to provide specific details with respect to
those it did find responsible for the backdating of Getty Images stock options. As such, the

Special Committee’s conclusion tha “the evidence [] did not establish any intentional

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wrongdoing by current employees, officers or directors of the Company” lacks merit and should
be disregarded.
BACKDATING CAUSED HARM TO THE COMPANY

196. As a result of the backdating and other manipulation of options issued to
Defendants Getty, Klein, Sporborg, Albers, Beyle, Blackwell, Evans-Lombe, Ferguson, Gurke,
Huebner, Miskimens, O’Neill, Powell, Roling, von Bargen and Woodhouse, they have been
unjustly enriched in the amount of millions of dollars at the expense of the Company. The
Company has received and will receive less money from these defendants when they exercise
their options at prices substantially lower than they would have if the options had not been
backdated. v

Restatement of` Getty Images’ Financial Statements

197. The practice of backdating stock options not only lined the pockets of the
Company’s executives at the direct expense of the Company and the shareholders but also
resulted in the overstatement of the Company’s net income. This is because options priced
below the stock’s fair market value when they were awarded brought the recipient an instant
paper gain that must be accounted for as additional compensation and treated as an expense to
the Company. Indeed, the Company restated its historical financial results to account for
additional stock-based compensation totaling $27 million.

198. The Special Committee concluded that, pursuant to the requirements of APB 25,
different accounting measurement dates for the purpose of computing compensation costs for
certain stock option grants should have been used. Furthermore, the additional non-cash stock-
based compensation expense under the revised calculations will have the effect of decreasing
reported net income or increasing reported net loss, and increasing the reported accumulated
deficit contained in the Company’s historical financial statements

199. On June 8, 2007, Getty Images filed its financial results the fiscal year ended
December 31, 2006, which included restatements of the following previously filed financial

statements and data:

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This Annual Report on Form lO-K for our fiscal year ended December 3l, 2006
includes restatements of the following previously filed financial statements and
data (and related disclosures), which resulted primarily from recording additional
compensation expense due to changes in the measurement dates of certain equity
award grants that were made as a result of the internal investigation into our
historical equity award grant practices and modifications previously made to
certain granted equity awards: (l) our consolidated financial statements for our
fiscal years ended December 31, 2005 and 2004; (2) our selected consolidated
financial data for our fiscal years ended December 3l, 2005, 2004, 2003 and
2002, and (3) our unaudited quarterly financial data for each quarter in our fiscal
year ended December 3l, 2005 and the first and second quarters of fiscal year
2006. We have filed amended Quarterly Reports on Form lO-Q/A for the quarters
ended March 31, 2006 and June 30, 2006 to reflect the restatements.

200. In addition to the serious and adverse tax consequences, which resulted from the
Company’s failure to record the additional non-cash stock-based compensation, Getty Images
faces millions of dollars in costs associated with the Special Committee’s internal investigation
and the related restatements. Getty Images also will likely admit to material weakness in its
financial controls resulting in a qualified opinion from its outside auditor.

Dissemination of False and Misleading Financial Statements

201. As known to defendants Klein and Getty and Compensation Committee members
Bailey, Garb, and Sporborg, their secret option backdating scheme caused each of Getty Images’
Forms lO-K and Forms lO-Q for the relevant period to materially understate Getty lmages’
compensation expense and materially overstate the Company’s net income or materially
understate its net loss, because these defendants failed to expense the in-the-money portion of
Getty Images’ stock option grants during the relevant period, as required by APB 25.

202. Particularly, defendants Garb, Bailey and Sporborg also served on the Audit
Committee and were well aware of GAAP and other accounting rules. As such, they were aware
of the material effect their backdating scheme had on Getty Images’ financial statements.
Furthermore, Defendant Klein was the Company’s CEO and knowingly made false statements in

Getty lmage’s financial reports. Defendants Garb, Bailey, Sporborg and Klein knew that, as a

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result of their misconduct, the compensation expenses were understated and thus their net
income was overstated

203. As a result of the improper backdating of stock options, the Company, with the
knowledge, approval and participation of defendants Klein and Getty and Compensation
Committee members Garb, Bailey and Sporborg:

a. violated the terms of the 1998 Plan by granting stock options with exercise prices
less than the fair market value of the stock on the actual date of grant;

b. violated APB 25 by failing to recognize compensation expenses incurred when
the improperly backdated options were granted;

c. violated Section l62(m) by taking tax deductions based on stock option grants
that were not payable solely on account of the attainment of one or more
performance goals and violated the terms of the Company’s shareholder-approved
stock option plans; and

d. produced and disseminated false financial statements to Getty Images
shareholders and the market that improperly recorded and accounted for the
backdated option grants, and thereby understated compensation expenses and
overstated net income.

204. The Company, with the knowledge, approval, and participation of Defendants
Klein, Getty, Garb, Bailey and Sporborg, disseminated its false financial statements in, inter alia,
the following Form 10-K filings:

a. Form 10-K for the year ended December 31, 1999, filed with the SEC on March

30, 2000 and signed by defendants Getty, Klein, Roling, Garb, Bailey and
Sporborg;

b. Form 10-K for the year ended December 31, 2000, filed with the SEC on April 2,
2001 and signed by defendants Getty, Klein, Huebner, Garb, Bailey and
Sporborg;

b. Form 10-K for the year ended December 31, 2001, filed with the SEC on March
29, 2002 and signed by defendants Getty, Klein, Huebner, Garb, Bailey and
Sporborg;

c. Form lO-K for the year ended December 31, 2002 filed with the SEC on March
21, 2003 and signed by defendants Getty, Klein, Huebner, Garb, Bailey and
Sporborg;

d. Form 10-K for the year ended December 31 2003, filed with the SEC on March

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12, 2004 and signed by defendants Getty, Klein, Huebner, Garb, Bailey and
Sporborg;

e. Form lO-K for the year ended December 31, 2004, filed with the SEC on March
ll, 2005 and signed by defendants Getty, Klein, Huebner, Garb, Bailey and
Sporborg; and

f. Form 10-K for the year ended December 31, 2005, filed with the SEC on March
9, 2006 and signed by defendants Getty, Klein, Huebner, Garb, Bailey and
Sporborg.

g. Form lO-K/A for the year ended December 31, 2005, filed with the SEC on
March 10, 2006 and signed by defendants Getty, Klein, Huebner, Garb, Bailey
and Sporborg,

205. Furthermore, Getty Images’ executives, including defendants Getty, Klein,
Sporborg, Albers, Beyle, Blackwell, Evans-Lombe, Ferguson, Gurke, Huebner, Miskimens,
O’Neill, Powell, Roling, von Bargen and Woodhouse, were overpaid improper cash bonuses
based on the foregoing false and misleading financial information that should be repaid to the
Company.

The 1999 Form lO-K

206. On or about March 30, 2000, Getty Images filed its 1999 Report on Form lO-K
with the SEC. Defendants Klein, Getty, Garb, Bailey and Sporborg approved and signed the
Form lO-K that included Getty Images’ 1999 financial statements, which they knew were
materially false and misleading and presented in violation of GAAP, due to improper accounting
for the backdated stock options. As stated above, Audit Committee and Compensation
Committee members Garb, Bailey and Sporborg, with the knowledge and participation of
defendants Klein and Getty, knowingly approved the April 9, 1999, May 4, 1999, July 6, 1999,
July 27, 1999, August 3, 1999, October 22, 1999 and October 25, 1999 grants when they knew
that they actually approved these grants on later dates and backdated these grants to when Getty
Images’ stock price was lower than the actual grant dates. Defendants Klein, Getty, Garb, Bailey
and Sporborg granted these improperly priced and dated options for the benefit of the Company

insiders to the detriment of the Company. As a result, defendants Klein, Getty, Garb, Bailey and

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Sporborg knew that Getty Images’ compensation expense was understated and its net earnings
were overstated and thus knowingly approved the false Form 10-K for fiscal year 1999 filed on
March 30, 2000.

207. In addition, Defendants Klein, Getty, Garb, Bailey and Sporborg made the
following misrepresentations about Getty Images’ stock option plans in the 1999 Report on Form
lO-K:

Under the Getty Images Plan, the Board has the discretion to grant stock options

(“Options”) underlying shares of Common Stock at fair market prices, based on

the average of the high and low prices of the Company’s Common Stock on the

date of grant. The Options vest 25% on the first anniversary of the date of grant

and on a monthly pro rata basis over three years thereafter and have a term of ten
years.

208. As detailed above, this statement was knowingly false and misleading because the
stock options purportedly dated April 9, 1999, May 4, 1999, July 6, 1999, July 27, 1999, August
3, 1999, October 22, 1999 and October 25, 1999 were not granted at fair market value on the
date of grant but in fact had exercise prices less than the average high and low prices of the
Company’s common stock on the actual grant dates. Defendants Klein, Getty, Garb, Bailey and
Sporborg knew the statement was false and misleading when they made the representation in the
1999 Form 10-K because they were involved in the backdating of the foregoing 1999 stock
option grants,

209. Furthermore, Defendants Klein, Getty, Garb, Bailey and Sporborg caused Getty
Images to falsely state in the 1999 Form lO-K that, “[t]he Company applies Accounting
Principles Board Opinion No. 25 (‘APB No. 25’), Accounting for Stock Issued to Employees
and related interpretations in accounting for its stock option plans.” This statement was
materially false and misleading because Klein, Getty, Garb, Bailey and Sporborg knowingly
granted stock options at prices that were below fair market value on the date of the grant and

failed to account for the in-the-money options as required by APB 25.

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210. The 1999 Form 10-K was signed by defendants Getty, Klein, Roling, Garb,
Bailey and Sporborg and because of their involvement in the backdating scheme, defendants
Klein, Getty, Garb, Bailey and Sporborg knowingly approved the filing of the false Form 10-K
for fiscal year 1999.

The 2000 Form 10-K

211. On or about April 2, 2001, Getty Images filed its 2000 Report on Form 10-K with
the SEC. Defendants Klein, Getty, Garb, Bailey and Sporborg approved and signed the Form
10-K that included Getty Images’ 2000 financial statements, which they knew were materially
false and misleading and presented in violation of GAAP, due to improper accounting for the
backdated stock options. As stated above, Audit Committee and Compensation Committee
members Garb, Bailey and Sporborg, with the knowledge and participation of defendants Klein
and Getty, knowingly backdated the stock option grants to February l, 2000, April 28, 2000,
May 24, 2000, May 30, 2000, August 28, 2000 and October ll, 2000 when Getty Images’ stock
price were lower than the actual grant dates. Defendants Klein, Getty, Garb, Bailey and
Sporborg knew that the grants were approved on later dates than reported. Furthermore, these
defendants granted these improperly priced and dated options for the benefit of Company
insiders to the detriment of the Company. As a result, defendants Klein, Getty, Garb, Bailey and
Sporborg knew that Getty Images’ compensation expense was understated and its net earnings
were overstated and thus knowingly approved the false Form 10-K for fiscal year 2000 filed on
April 2, 2001.

212. In addition, Defendants Getty, Klein, Sporborg, Bailey and Garb made the
following misrepresentations about 1998 Plan in the 2000 Report on Form 10-K:

Under the Getty Images, Inc. 1998 Stock Incentive Plan (the Plan), the Board of
Directors has the discretion to grant stock options underlying shares of common
stock at fair market prices, based on the average of the high and low prices of the
Company’s common stock on the date of grant. The options vest 25% on the first
anniversary of the date of grant and on a monthly pro rata basis over three years
thereafter and have a term of ten years. A total of 13 million shares are reserved
for issuance under this plan, with shares under options that lapse available for re-

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issuance. Options become exercisable when vested and remain exercisable
through the remainder of the option term except upon termination of employment,
in which case the options terminate 90 days after the employee’s termination date,

213. As detailed above, this statement was knowingly false and misleading because the
stock options purportedly dated February l, 2000, April 28, 2000, May 24, 2000, May 30, 2000,
August 28, 2000 and October ll, 2000 were not granted at fair market value on the date of grant
but in fact had an exercise price less than the stock price on the actual date of grant. Defendants
Getty, Klein, Sporborg, Bailey and Garb knew the statement was false and misleading when they
made the representation in the 2000 Form lO-K because they were involved in the backdating of
the foregoing 2000 stock option grants.

214. Furthermore, Defendants Klein, Getty, Garb, Bailey and Sporborg caused Getty
Images to falsely state in the 2000 Form lO-K that, “[t]he Company applies Accounting
Principles Board (APB) Opinion No. 25, ‘Accounting for Stock Issued to Employees’ and
related interpretations in accounting for its stock option plan, Accordingly, the Company
recognizes no compensation expense related to employee stock options as no options are granted
below the market price on the date of the grant.” This statement was materially false and
misleading because Klein, Getty, Garb, Bailey and Sporborg knowingly granted stock options at
prices that were below fair market value on the date of the grant and failed to account for the in-
the-money options as required by APB 25 .

215 . The 2000 Form lO-K was signed by defendants Getty, Klein, Huebner, Sporborg,
Bailey and Garb and because of their involvement in the backdating scheme, Getty, Klein,
Sporborg, Bailey and Garb knowingly approved the filing of the false Form lO-K for fiscal year
2000.

The 2001 Form 10-K

216. On or about March 29, 2002, Getty Images filed its 2000 Report on Form lO-K

with the SEC. Defendants Klein, Getty, Garb, Bailey and Sporborg approved and signed the

Form 10-K that included Getty Images’ 2001 financial statements, which they knew were

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materially false and misleading and presented in violation of GAAP, due to improper accounting
for the backdated stock options. As stated above, Audit Committee and Compensation
Committee members Garb, Bailey and Sporborg, with the knowledge and participation of
defendants Klein and Getty, knowingly backdated the stock option grants to March 30, 2001,
May 7, 2001, June 26, 2001, July 17, 2001, July 23, 2001, October 9, 2001 and October 15, 2001
when Getty Images’ stock price was lower than the actual grant date. Defendants Klein, Getty,
Garb, Bailey and Sporborg knew that the grants were approved on dates after the purported grant
dates. Furthermore, these defendants granted these improperly priced and dated options for the
benefit of Company insiders to the detriment of the Company. As a result, defendants Klein,
Getty, Garb, Bailey and Sporborg knew that Getty Images’ compensation expense was
understated and its net earnings were overstated and thus knowingly approved the false Form 10-
K for fiscal year 2001 filed on March 29, 2002.

217. In addition, Defendants Getty, Klein, Huebner, Garb, Bailey and Sporborg made

the following misrepresentations about the 1998 Plan in the 2001 Report on Form lO-K:

Under the Getty Images, lnc. 1998 Stock Incentive Plan (the Plan), the Board of
Directors has the discretion to grant stock options underlying shares of common
stock at the fair market value of the company’s common stock on the date of
grant. Options generally vest 25% on the first anniversary of the date of grant and
on a monthly pro rata basis over three years thereafter and have a term of ten
years.

A total of 13 million shares are reserved for issuance under the Plan. Shares under
options that lapse are available for re-issuance. Options become exercisable when
vested and remain exercisable through the remainder of the option term except
upon termination of` employment, in which case the options generally terminate 90
days after the employee’s termination date.

The company also issued, during 2001, options for a total of 134,999 shares
outside of the Plan to two newly-hired executive officers and to three non-
executive members of our Board of Directors. The terms of these options are
substantially identical to those granted under the Plan.

218. As detailed above, this statement was knowingly false and misleading because the

stock options purportedly dated March 30, 2001, May 7, 2001, June 26, 2001, July 17, 2001, July

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23, 2001, October 9, 2001 and October 15, 2001 were not granted at fair market value on the
date of grant but in fact had an exercise price less than the stock price on the actual date of grant.
Defendants Getty, Klein, Sporborg, Bailey and Garb knew the statement was false and
misleading when they made the representation in the 2000 Form lO-K because they were
involved in the backdating of the foregoing 2001 stock option grants.

219. Furthcrmore, Defendants Klein, Getty, Garb, Bailey and Sporborg caused Getty
Images to falsely state in the 2001 Form 10-K that, “[t]he company applies Accounting
Principles Board (APB) Opinion No. 25, ‘Accounting for Stock Issued to Employees’ and
related interpretations in accounting for stock options. Accordingly, the company recognizes no
compensation expense related to employee stock options, as no options are granted below the
market price on the date of the grant.” This statement was materially false and misleading
because Klein, Getty, Garb, Bailey and Sporborg knowingly granted stock options at prices that
were below fair market value on the date of the grant and failed to account for the in-the-money
options as required by APB 25.

220. The 2001 Form 10-K was signed by defendants Getty, Klein, Huebner, Sporborg,
Bailey and Garb and because of their involvement in the backdating scheme, Getty, Klein,
Sporborg, Bailey and Garb knowingly approved the filing of the false Form 10-K for fiscal year
2001.

The 2002 Form lO-K

221. On or about March 21, 2003, Getty Images filed its 2002 Report on Form 10-K
with the SEC. Defendants Klein, Getty, Garb, Bailey and Sporborg approved and signed the
Form 10-K that included Getty Images’ 2002 financial statements, which they knew were
materially false and misleading and presented in violation of GAAP, due to improper accounting
for the backdated stock options. As stated above, Audit Committee and Compensation
Committee members Garb, Bailey and Sporborg, with the knowledge and participation of
defendants Klein and Getty, knowingly backdated the stock option grants to February 5, 2002

when Getty Images’ stock price was lower than the actual grant date. Defendants Klein, Getty,

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Garb, Bailey and Sporborg knew that the grant was approved at a later date. Furthermore, these
defendants granted these improperly priced and dated options for the benefit of Company
insiders to the detriment of the Company. As a result, defendants Klein, Getty, Garb, Bailey and
Sporborg knew that Getty Images’ compensation expense was understated and its net earnings
were overstated and thus knowingly approved the false Form 10-K for fiscal year 2002 filed on
March 21, 2003.

222. ln addition, Defendants Getty, Klein, Huebner, Garb, Bailey and Sporborg made
the following false and misleading statements about the 1998 Plan in the 2002 Report on Form
10-K:

Under the Getty lmages, Inc. 1998 Stock Incentive Plan (the Plan), the Board of
Directors has the discretion to grant stock options underlying shares of common
stock at the fair market value of the company’s common stock on the grant date.
Options generally have a 10-year term and a four-year vesting schedule, with 25%
vesting on the first anniversary of the grant date and a pro rata portion vesting
monthly over the remaining three years.

A total of 13 million shares are reserved for issuance under the Plan. Shares under
options that lapse (due to cancellation or expiration) are available for re-issuance.
Options become exercisable when vested and remain exercisable through the
remainder of the option term except upon termination of employment, in which
case the options generally terminate 90 days after the employee’s termination
date.

223. As detailed above, this statement was knowingly false and misleading because the
stock options purportedly dated February 5, 2002 were not granted at fair market value on the
date of grant but in fact had an exercise price less than the stock price on the actual date of grant.
Defendants Getty, Klein, Sporborg, Bailey and Garb knew the statement was false and
misleading when they made the representation in the 2002 Form 10-K because they were
involved in the backdating of the stock option grants dated February 5, 2002, as detailed above.

224. Furthermore, Defendants Klein, Getty, Garb, Bailey and Sporborg caused Getty
Images to falsely state in the 2002 Form 10-K that, “[t]he company applies Accounting

Principles Board (APB) Opinion No. 25, ‘Accounting for Stock lssued to Employees’ and

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related interpretations in accounting for stock-based compensation. Accordingly, the company
recognizes no compensation expense related to the granting of employee stock options, as no
options are granted below the market price on the date of the grant.” This statement was
materially false and misleading because Klein, Getty, Garb, Bailey and Sporborg knowingly
granted stock options at prices that were below fair market value on the date of the grant and
failed to account for the in-the-money options as required by APB 25.

225. The 2002 Form 10-K was signed by defendants Getty, Klein, Huebner, Sporborg,
Bailey and Garb and because of their involvement in the backdating scheme, Getty, Klein,
Sporborg, Bailey and Garb knowingly approved the filing of the false Form 10-K for fiscal year
2002.

226. Defendant Klein signed a Certification of Chief Executive Officer Pursuant to 18
U.S.C. Section 1350, as Adopted Pursuant to Section 906 of the Sarbanes-Oxley Act of 2002,
which attested to the purported accuracy of the financial statements contained in the 2002 annual
report, the effectiveness of the internal controls, and compliance with Section 13(a) of the
Exchange Act, when he knew that this Certification was false and misleading Because of his
involvement in the backdating scheme, Defendant Klein knew that the 2002 financial results
understated compensation expenses and overstated net income. In the 2002 Certification, Klein
made the following false and misleading certification: “(1) The Report fully complies with the
requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934; and (2) The
information contained in the Report fairly presents, in all material respects, the financial
condition and results of operations of the Company.”
The 2003 Form 10-K

227. On or about March 12, 2004, Getty Images filed its 2003 Report on Form 10-K
with the SEC. Defendants Klein, Getty, Garb, Bailey and Sporborg approved and signed the
Form lO-K that included Getty Images’ 2003 financial statements as well as the 1999-2002
financial statements, which they knew were materially false and misleading and presented in

violation of GAAP, due to improper accounting for the backdated stock options. As stated

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DERIVATIVE COMPLAINT - 73 - CLIFFORD A. CANTOR, P.C.
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above, Audit Committee and Compensation Committee members Garb, Bailey and Sporborg,
with the knowledge and participation of defendants Klein and Getty, knowingly backdated the
1999-2002 stock option grants when Getty Images’ stock price was lower than the actual grant
dates. Defendants Klein, Getty, Garb, Bailey and Sporborg knew that the grants were approved
on dates after the purported grant dates. Furthermore, these defendants granted these improperly
priced and dated options for the benefit of Company insiders to the detriment of the Company.
As a result, defendants Klein, Getty, Garb, Bailey and Sporborg knew that Getty Images’
compensation expense was understated and its net earnings were overstated and thus knowingly
approved the false Form 10-K for fiscal year 2003 filed on March 12, 2004.

228. In addition, Defendants Getty, Klein, Huebner, Garb, Bailey and Sporborg made
the following misrepresentations about the 1998 Plan in the 2003 Report on Form 10-K:

Under the Getty Images, Inc. 1998 Stock Incentive Plan (the Plan), the Board of
Directors has the discretion to grant stock options underlying shares of common
stock at the fair market value of our common stock on the grant date and other
stock-based awards. Options generally have a 10-year term and a four-year
vesting schedule, with 25% vesting on the first anniversary of the grant date and a
pro rata portion vesting monthly over the remaining three years. The terms of
other stock-based awards, such as restricted stock, vary from grant to grant.

A total of 13 million shares are reserved for issuance under the Plan. Shares under
options and other stock-based awards that lapse due to cancellation or expiration
are available for re-issuance. Options become exercisable when vested and remain
exercisable through the remainder of the option term except upon termination of
employment, in which case the options generally terminate 90 days after the
employee’s termination date.

229. As detailed above, this statement was knowingly false and misleading because the
1999-2002 stock options were not granted at fair market value on the date of grant but in fact had
an exercise price less than the stock price on the actual date of grant. Defendants Getty, Klein,
Sporborg, Bailey and Garb knew the statement was false and misleading when they made the
representation in the 2003 Form 10-K because they were involved in the backdating of those

stock option grants.

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230. Furthermore, Defendants Klein, Getty, Garb, Bailey and Sporborg caused Getty
Images to falsely state in the 2003 Form 10-K that, “[w]e apply the intrinsic value provisions of
Accounting Principles Board (APB) Opinion No. 25, ‘Accounting for Stock Issued to
Employees’ and related interpretations in accounting for employee stock-based compensation
We do not recognize compensation expense when granting employee stock options, as we do not
grant options with exercise prices less than the market price of our common stock on the date of
the grant.” This statement was materially false and misleading because Klein, Getty, Garb,
Bailey and Sporborg knowingly granted stock options from 1999 to 2002 at prices that were
below fair market value on the date of the grant and failed to account for the in-the-money
options as required by APB 25.

231. The 2003 Form 10-K was signed by defendants Getty, Klein, Huebner, Sporborg,
Bailey and Garb, and because of their involvement in the backdating scheme, Getty, Klein,
Sporborg, Bailey and Garb knowingly approved the filing of the false Form 10-K for fiscal year
2003.

232. Defendant Klein signed a Certification of Chief Executive Officer Pursuant to 18
U.S.C. Section 1350, as Adopted Pursuant to Section 906 of the Sarbanes-Oxley Act of 2002,
which attested to the purported accuracy of the financial statements contained in the 2003 annual
report, the effectiveness of the internal controls, and compliance with Section 13(a) of the
Exchange Act, when he knew that this Certification was false and misleading Because of his
involvement in the backdating scheme, Defendant Klein knew that the 2003 financial results
understated compensation expenses and overstated net income. In the 2003 Certification, Klein
made the following false and misleading certification: “(1) The Form 10-K fully complies with
the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934 (15 U.S.C.
78m or 780(d)); and (2) The information contained in the Form 10-K fairly presents, in all

material respects, the financial condition and results of operations of the Company.”

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The 2004 Form 10-K

233. On or about March ll, 2005, Getty Images filed its 2004 Report on Form 10-K
with the SEC. Defendants Klein, Getty, Garb, Bailey and Sporborg approved and signed the
Form lO-K that included Getty Images’ 2004 financial statements as well as the 2000-2002
financial statements, which they knew were materially false and misleading and presented in
violation of GAAP, due to improper accounting for the backdated stock options. As stated
above, Audit Committee and Compensation Committee members Garb, Bailey and Sporborg,
with the knowledge and participation of defendants Klein and Getty, knowingly backdated the
2000-2002 stock option grants when Getty Images’ stock price was lower than the actual grant
dates. Defendants Klein, Getty, Garb, Bailey and Sporborg knew that the grants were approved
on later dates that those reported. Furthermore, these defendants granted these improperly priced
and dated options for the benefit of Company insiders to the detriment of the Company. As a
result, defendants Klein, Getty, Garb, Bailey and Sporborg knew that Getty Images’
compensation expense was understated and its net earnings were overstated and thus knowingly
approved the false Form 10-K for fiscal year 2004 filed on March ll, 2005.

234. In addition, Defendants Getty, Klein, Huebner, Garb, Bailey and Sporborg made
the following misrepresentations about the 1998 Plan in the 2004 Report on Form 10-K:

ITEM 12. SECURITY OWNERSHIP OF CERTAIN BENEFICIAL
OWNERS AND MANAGEMENT AND RELATED STOCKHOLDER
MATTERS

Under the Getty Images, Inc. 1998 Stock Incentive Plan (the Plan), the Board of
Directors has the discretion to grant stock options underlying shares of common
stock at the fair market value of our common stock on the grant date and other
stock-based awards. Options generally have a 10-year term and a four-year
vesting schedule, with 25% vesting on the first anniversary of the grant date and a
pro rata portion vesting monthly over the remaining three years. The terms of
other stock-based awards, such as restricted stock, vary from grant to grant.

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NOTE 8. STOCK-BASED COMPENSATION

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Under the Getty lmages, Inc. 1998 Stock Incentive Plan (the Plan), the Board of

Directors has the discretion to grant stock options underlying shares of common

stock at the fair market value of our common stock on the grant date and other

stock-based awards. As detailed above, this statement was knowingly false and

misleading because the 1999-2002 stock options were not granted at fair market

value on the date of grant but in fact had an exercise price less than the stock price

on the actual date of grant. Defendants Getty, Klein, Sporborg, Bailey and Garb

knew the statement was false and misleading when they made the representation

in the 2003 Form 10-K because they were involved in the backdating of those

stock option grants, as detailed above.

235. The above statements were materially false and misleading because Defendants
Klein, Getty, Garb, Bailey and Sporborg knowingly granted stock options from 1999 to 2002 at
prices that were below fair market value on the date of the grant and failed to account for the in-
the-money options as required by APB 25.

236. Furthermore, Defendants Klein, Getty, Garb, Bailey and Sporborg caused Getty
Images to falsely state in the 2004 Form 10-K that, “[w]e apply the intrinsic value provisions of
Accounting Principles Board (APB) Opinion No. 25, ‘Accounting for Stock Issued to
Employees’ and related interpretations in accounting for employee stock-based compensation
We do not recognize compensation expense when granting employee stock options, as we do not
grant options with exercise prices less than the market price of our common stock on the date of
the grant.” This statement was materially false and misleading because Klein, Getty, Garb,
Bailey and Sporborg knowingly granted stock options from 1999 to 2002 at prices that were
below fair market value on the date of the grant and failed to account for the in-the-money
options as required by APB 25.

237. The 2004 Form lO-K was signed by defendants Getty, Klein, Huebner, Sporborg,
Bailey and Garb and because of their involvement in the backdating scheme, Getty, Klein,
Sporborg, Bailey and Garb knowingly approved the filing of the false Form 10-K for fiscal year
2004,

238. Defendant Klein signed a Certification of Chief Executive Officer Pursuant to 18

U.S.C. Section 1350, as Adopted Pursuant to Section 906 of the Sarbanes-Oxley Act of 2002,

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which attested to the purported accuracy of the financial statements contained in the 2004 annual
report, the effectiveness of the internal controls, and compliance with Section 13(a) of the
Exchange Act, when he knew that this Certification was false and misleading Because of his
involvement in the backdating scheme, Defendant Klein knew that the 2004 financial results
understated compensation expenses and overstated net income. In the 2004 Certification, Klein
made the following false and misleading certification: “(l) The Form lO-K fully complies with
the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934 (15 U.S.C.
78m or 780(d)); and (2) The information contained in the Form lO-K fairly presents, in all
material respects, the financial condition and results of operations of the Company.”
The 2005 Form lO-K

239. On or about March 9, 2006, Getty Images filed its 2005 Report on Form 10-K
with the SEC. Defendants Klein, Getty, Garb, Bailey and Sporborg approved and signed the
Form lO-K that included Getty Images’ 2005 financial statements as well as the 2001-2002
financial statements, which they knew were materially false and misleading and presented in
violation of GAAP, due to improper accounting for the backdated stock options. As stated
above, Audit Committee and Compensation Committee members Garb, Bailey and Sporborg,
with the knowledge and participation of defendants Klein and Getty, knowingly backdated the
2001-2002 stock option grants when Getty Images’ stock price was lower than the actual grant
date. Defendants Klein, Getty, Garb, Bailey and Sporborg knew that the grants were approved at
a later date. Furthermore, these defendants granted these improperly priced and dated options for
the benefit of Company insiders to the detriment of the Company. As a result, defendants Klein,
Getty, Garb, Bailey and Sporborg knew that Getty Images’ compensation expense was
understated and its net earnings were overstated and thus knowingly approved the false Form 10-
K for fiscal year 2005 filed on March 9, 2006,

240. Furthermore, Defendants Klein, Getty, Garb, Bailey and Sporborg caused Getty
Images to falsely state in the 2005 Form lO-K that, “[w]e apply the intrinsic value provisions of

Accounting Principles Board (APB) Opinion No. 25, ‘Accounting for Stock Issued to

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Employees’ and related interpretations in accounting for employee stock-based compensation
We do not recognize compensation expense when issuing stock options as, according to the
terms of our 2005 Incentive Plan, we are not able issue stock options with exercise prices less
than the market price of our common stock on the date of the issuance.” This statement was
materially false and misleading because Klein, Getty, Garb, Bailey and Sporborg knowingly
granted stock options from 1999 to 2002 at prices that were below fair market value on the date
of the grant and failed to account for the in-the-money options as required by APB 25.

241. The 2005 Form lO-K was signed by defendants Getty, Klein, Huebner, Sporborg,
Bailey and Garb and because of their involvement in the backdating scheme, Getty, Klein,
Sporborg, Bailey and Garb knowingly approved the filing of the false Form 10-K for fiscal year
2005.

242. Defendant Klein signed a Certification of Chief Executive Officer Pursuant to 18
U.S.C. Section 1350, as Adopted Pursuant to Section 906 of the Sarbanes-Oxley Act of 2002,
which attested to the purported accuracy of the financial statements contained in the 2005 annual
report, the effectiveness of the internal controls, and compliance with Section 13(a) of the
Exchange Act, when he knew that this Certification was false and misleading Because of his

involvement in the backdating scheme, Defendant Klein knew that the 2005 financial results

understated compensation expenses and overstated net income. In the 2005 Certification, Klein

made the following false and misleading certification: “(1) The Form 10-K fully complies with
the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934 (15 U.S.C.
78m or 78o(d)); and (2) The information contained in the Form 10-K fairly presents, in all
material respects, the financial condition and results of operations of the Company.”
The 2005 Form lO-K/A

243. On or about March 10, 2006, Getty Images filed its Amended 2005 Report on
Form lO-K/A with the SEC where Defendants Klein, Getty, Garb, Bailey and Sporborg
knowingly made the same false and misleading statements as those in the initial 2005 Form 10-

K. Again, Defendants Klein, Getty, Garb, Bailey and Sporborg approved and signed the Form

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lO-K/A that included Getty Images’ 2005 financial statements as well as the 2001-2002 financial
statements, which they knew were materially false and misleading and presented in violation of
GAAP, due to improper accounting for the backdated stock options. As stated above, Audit
Committee and Compensation Committee members Garb, Bailey and Sporborg, with the
knowledge and participation of defendants Klein and Getty, knowingly backdated the 2001-2002
stock option grants when Getty Images’ stock price was lower than the actual grant date.
Defendants Klein, Getty, Garb, Bailey and Sporborg knew that the grants were approved at a
later date. Furthermore, these defendants granted these improperly priced and dated options for
the benefit of Company insiders to the detriment of the Company. As a result, defendants Klein,
Getty, Garb, Bailey and Sporborg knew that Getty Images’ compensation expense was
understated and its net earnings were overstated and thus knowingly approved the false Form 10-
K/A for fiscal year 2005 filed on March 10, 2006.

244. Furthermore, Defendants Klein, Getty, Garb, Bailey and Sporborg caused Getty
Images to falsely state in the 2005 Form lO-K/A that, “We apply the intrinsic value provisions of
Accounting Principles Board (APB) Opinion No. 25, ‘Accounting for Stock Issued to
Employees’ and related interpretations in accounting for employee stock-based compensation
We do not recognize compensation expense when issuing stock options as, according to the
terms of our 2005 Incentive Plan, we are not able issue stock options with exercise prices less
than the market price of our common stock on the date of the issuance.” This statement was
materially false and misleading because Klein, Getty, Garb, Bailey and Sporborg knowingly
granted stock options from 1999 to 2002 at prices that were below fair market value on the date
of the grant and failed to account for the in-the-money options as required by APB 25.

245. The 2005 Form lO-K/A was signed by defendants Getty, Klein, Huebner,
Sporborg, Bailey and Garb and because of their involvement in the backdating scheme, Getty,
Klein, Sporborg, Bailey and Garb knowingly approved the filing of the false Form lO-K/A for
fiscal year 2005.

246. Defendant Klein signed a Certification of Chief Executive Officer pursuant to 18

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U.S.C. Section 1350, as Adopted pursuant to Section 906 of the Sarbanes-Oxley Act of 2002,
which attested to the purported accuracy of the financial statements contained in the Amended
2005 annual report, the effectiveness of the internal controls, and compliance with Section 13(a)
of the Exchange Act, when he knew that this Certification was false and misleading Because of
his involvement in the backdating scheme, Defendant Klein knew that the 2005 financial results
understated compensation expenses and overstated net income. ln the 2005 Certification, Klein
made the following false and misleading certification: “(l) The Form 10-K fully complies with
the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934 (15 U.S.C.
78m or 78o(d)); and (2) The information contained in the Form 10-K fairly presents, in all
material respects, the financial condition and results of operations of the Company.”
Defendants’ Concealment of their Misconduct

247. Defendants Bailey, Sporborg and Garb, with the knowledge and participation of
Defendants Getty and Klein, caused Getty Images to issue false proxy statements in connection
with the Company’s annual shareholder meetings and periodically for special shareholder
meetings during the relevant period. These defendants prepared and/or reviewed the 2000-2003
proxy statements before the statements were disseminated to shareholders and filed with the
SEC. Moreover, Bailey, Sporborg Garb, Getty and Klein knew that the proxies were materially
false and misleading as they participated in the backdating of stock option grants from April
1999 to February 2002,

248. Getty Images shareholders routinely relied upon the false and misleading proxy
statements issued by the Company and voted for the Company’s stock option plans under which
these defendants backdated stock option grants in order to benefit Company insiders at the
expense of the Company and its shareholders

249. From 2000 to 2003, the Company, with the knowledge, approval, and
participation of Defendants Klein, Getty, Bailey, Garb and Sporborg, for the purpose and with
the effect of concealing the improper option backdating, disseminated to shareholders and filed

with the SEC annual proxy statements that falsely reported the dates of stock option grants to

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Defendants Getty, Klein, Sporborg, Albers, Beyle, Blackwell, Evans-Lombe, Ferguson, Gurke,
Huebner, Miskimens, O’Neill, Powell, Roling, von Bargen and Woodhouse and falsely stated
that the exercise price of the options granted to these defendants was “equal to the average of the
high and low prices of the Common Stock of the Company on the date of grant.”
The 2000 Proxv Statement

250. The Company’s proxy statement filed with the SEC on April 7, 2000 falsely
reported that options granted to Powell and von Bargen were granted on April 9, 1999, options
granted to Roling were granted on May 4, 1999 and August 3, 1999, options granted to Powell
were granted on July 6, 1999, and other options granted to Klein, Getty, Roling, Powell and von
Bargen were granted on October 22, 1999, when in fact these grants were actually approved on
later dates by Defendants Bailey, Garb and Sporborg

251. In the proxy statement filed on April 7, 2000, the Compensation Committee
(Defendants Bailey, Sporborg and Garb), made the following representations about Getty
Image’s stock option grants:

All options granted by Getty Images following the consummation of the
Transactions have been granted under, and governed by, the Plan, which was
adopted by the Company in connection with the Transactions. Options granted by
the Compensation Committee under the Plan have been made at fair market value
(based on the average of the high and low prices of the Company’s Common
Stock on the date of grant), vest over a period of four years, 25% on the first
anniversary of the grant date and monthly on a pro rata basis thereafter, and expire
after ten years from the date of grant (with the exception of certain options granted
to executive officers upon the consummation of the Transactions that became
fully exercisable upon the first anniversary of the date of grant).

252. Each of the above statements concerning the 1998 Plan and the value of the stock
options on the date of grant was knowingly false and misleading because the option grants to
Defendants Powell and von Bargen dated April 9, 1999, options grants to Roling dated May 4,
1999 and August 3, 1999, and options granted to Klein, Getty, Roling, Powell and von Bargen
dated October 22, 1999 were, in fact, backdated. Thus, these grants were granted at less than fair

market value as reported by Compensation Committee members Bailey, Sporborg and Garb and

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as prohibited by the 1998 Plan Contrary to the above representations, none of the backdated
options was ever approved by the shareholders, nor were shareholders ever aware of this illicit
compensation

253. Moreover, the Report of the Compensation Committee disclosed in the 2000
proxy statement falsely stated “[s]tock options are an integral part of executive officers
compensation and are utilized by the Company to provide an incentive to the officer, and to align
the interests of the executive with those of the Stockholders by providing him with a financial
interest in the company,” when in fact the backdated stock options provided the officers with
immediate profits regardless of the Company’s stock performance
The 2001 Proxv Statement

254. Getty Images’ proxy statement filed with the SEC on April 6, 2001 falsely
reported that options granted to Getty and Klein were granted on May 24, 2000 and options
granted to Albers were granted on August 28, 2000 and October 11, 2000, when in fact these
grants were actually approved on later dates by Defendants Bailey, Garb and Sporborg

255. In the proxy statement filed on April 6, 2001, the Compensation Committee
(Defendants Bailey, Sporborg and Garb), made the following representations about Getty
Image’s stock option grants:

All options granted by Getty Images following the consummation of the merger of
the businesses of Getty Communications plc and PhotoDisc, Inc. (the
“Transactions”), have been granted under, and governed by, the Getty Images,
Inc. 1998 Stock Incentive Plan (“the Stock Incentive Plan”), which was adopted
by the Company in connection with the Transactions. Options granted by the
Compensation Committee under the Stock Incentive Plan have been made at fair
market value (based on the average of the high and low prices of the Company’s
Common Stock on the date of grant), vest over a period of four years, 25% on the
first anniversary of the grant date and monthly on a pro rata basis thereafter, and
expire after ten years from the date of grant (with the exception of certain options
granted to executive officers upon the consummation of the Transactions that
became fully exercisable upon the first anniversary of the date of grant and a grant
made to Mr. Evans-Lombe in April 2000, which had a two-year vesting schedule).

256. Each of the above statements concerning the 1998 Plan and the value of the stock

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options on the date of grant was knowingly false and misleading because the option grants to
Defendants Getty and Klein dated May 24, 2000 and options granted to Defendants Albers
purportedly dated August 28, 2000 and October 11, 2000 were, in fact, backdated. Thus, these
grants were granted at less than fair market value as reported by Compensation Committee
members Bailey, Sporborg and Garb and as prohibited by the 1998 Plan Contrary to the above
representations, none of the backdated options was ever approved by the shareholders, nor were
shareholders ever aware of this illicit compensation

257. Moreover, the Report of the Compensation Committee disclosed in the 2001
proxy statement falsely stated “[s]tock options are an integral part of an executive officer’s
compensation and are utilized by the Company to provide an incentive to the executive officer,
and to align the interests of the executive officer with those of the Stockholders by providing the
executive officer with a financial interest in the Company,” when in fact the backdated stock
options provided the officers with immediate profits regardless of the Company’s stock
performance.

The 2002 Proxv Statement

 

258. Getty Images’ proxy statement filed with the SEC on April 19, 2002, falsely
reported that options granted to Klein, Getty, von Bargen, Huebner and Albers were granted on
March 30, 2001, options granted to Klein, Getty, Huebner and Albers were granted on October
15, 2001, and other options granted to Klein were granted on May 7, 2001 and June 26, 2001,
when in fact these grants were actually approved on later dates by Defendants Bailey, Garb and
Sporborg

259. In the proxy statement filed on April 19, 2002, the Compensation Committee
(Defendants Bailey, Sporborg and Garb), made the following representations about Getty
Image’s stock option grants:

The Compensation Committee may grant either incentive stock options, which
comply with Section 422 of the Internal Revenue Code, or nonqualified stock
options. The Compensation Committee sets option exercise prices and terms;
however, the exercise price of an incentive stock option may not be less than

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100% of the fair market value on the date of the grant (for these purposes, “fair
market value” means the average of the high and low per share trading prices for
the common stock on the date of grant as reported on the Nasdaq National
Market). The fair market value on March 1, 2002, was 826.31. Typically, options
do not vest unless the recipient remains employed or continues to provide services
to us for at least 12 months after grant. The term of a stock option may not be
more than ten years.

260. Each of the above statements concerning the value of the stock options on the date
of grant was knowingly false and misleading because the options granted to Defendants Klein,
Getty, von Bargen, Huebner and Albers dated March 30, 2001, options granted to Klein, Getty,
Huebner and Albers dated October 15, 2001, and options granted to Klein dated May 7, 2001
and June 26, 2001 were, in fact, backdated. Thus, these grants were issued at less than fair
market value as reported by Compensation Committee members Bailey, Sporborg and Garb and
as prohibited by the 1998 Plan, Contrary to the above representations, none of the backdated
options were ever approved by the shareholders, nor were shareholders ever aware of this illicit
compensation

261. Moreover, the Report of the Compensation Committee disclosed in the 2002
proxy statement falsely stated “[s]tock options are an integral part of an executive officer’s
compensation We use stock options to provide an incentive to the executive officer, and to align
the interests of the executive officer with those of our stockholders by providing the executive
officer with a financial interest in the Company,” when in fact the backdated stock options
provided the officers with immediate profits regardless of the Company’s stock performance
False Form 4s

262. From 1999 to 2006, the Company, with the knowledge, approval, and
participation of each of Klein, Getty, Bailey, Garb and Sporborg, for the purpose and with the
effect of concealing the improper option backdating, filed with the SEC Form 4’s that falsely

reported the dates of stock option grants to the following defendants:

a. von Bargen’s Form 4 filed with the SEC on May 5, 1999 falsely reported that
options granted to von Bargen had been granted on April 9, 1999;

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Albers’ Form 4 filed with the SEC on November 4, 2002 falsely reported that
options granted to Albers had been granted on August 28, 2000, October 11,
2000, March 30, 2001 and October 15, 2001;

Huebner’s Form 4 filed with the SEC on November 7, 2002 falsely reported that
options granted to Huebner had been granted on March 30, 2001 and October 15,
2001;

Getty’s Form 4 filed with the SEC on December 19, 2002 falsely reported that
options granted to Getty had been granted on October 22, 1999, April 28, 2000,
March 30, 2001 and October 15, 2001;

Klein’s Form 4 filed with the SEC on December 19, 2002 falsely reported that
options granted to Klein had been granted on October 22, 1999, April 28, 2000,
March 30, 2001, May 7, 2001, June 26, 2001 and October 15, 2001;

Woodhouse’s Form 4 filed with the SEC on December 19, 2002 falsely reported
that options granted to Woodhouse had been granted on October 25, 1999,
October 11, 2000 and March 30, 2001;

Evans-Lombe’s Form 4 filed with the SEC on January 6, 2003 falsely reported
that options granted to Evans-Lombe had been granted on May 04, 1999, July 27,
1999, October 22, 1999, March 30, 2001, October 15, 2001 and February 5, 2002;

Miskimens’ Form 4 filed with the SEC on January 28, 2003 falsely reported that
options granted to Miskimens had been granted on May 30, 2000, March 30,
2001, July 17, 2001 and October 9, 2001;

Albers’ Form 4 filed with the SEC on February 11, 2003 falsely reported that
options granted to Albers had been granted on August 28, 2000, October 11,
2000, March 30, 2001 and October 15, 2001;

Klein’s Form 4’s filed with the SEC on February 12, 2003, March 25, 2003, April
24, 2003, April 30, 2003, September 8, 2003, September 17, 2003, September 23,
2003, September 30, 2003, October 7, 2003, October 14, 2003, October 21, 2003,
October 24, 2003, October 28, 2003, November 4, 2003 and November 12, 2003
falsely reported that options granted to Klein had been granted on October 22,
1999, April 28, 2000, March 30, 2001, May 7, 2001, June 26, 2001 and October
15, 2001;

Albers’ Form 4 filed with the SEC on February 12, 2003 falsely reported that
options granted to Albers had been granted on August 28, 2000, March 30, 2001
and October 15, 2001;

 

 

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Albers’ Form 4 filed with the SEC on March 6, 2003 falsely reported that options
granted to Albers had been granted on August 28, 2000, October ll, 2000, March
30, 2001 and October 15, 2001;

Evans-Lombe’s Form 4 filed with the SEC on May 15, 2003 falsely reported that
options granted to Evans-Lombe had been granted on March 30, 2001 and
October 15, 2001;

Woodhouse’s Form 4 filed with the SEC on May 16, 2003 falsely reported that
options granted to Woodhouse had been granted on October 15, 2001;

Miskimens’ Form 4 filed with the SEC on May 19, 2003 falsely reported that
options granted to Miskimens had been granted on March 30, 2001 and July 17,
2001;

Blackwell’s Form 4 filed with the SEC on May 28, 2003 falsely reported that
options granted to Blackwell had been granted on October 15, 2001;

Klein’s Form 4 filed with the SEC on May 28, 2003 falsely reported that options
granted to Klein had been granted on October 15, 2001;

Gurke’s Form 4 filed with the SEC on October 22, 2003 falsely reported that
options granted to Gurke had been granted on August 3, 1999, October 22, 1999,
February l, 2000, March 30, 2001 and October 9, 2001;

Ferguson’s Form 4’s filed with the SEC on October 23, 2003 and November 5,
2003 falsely reported that options granted to Ferguson had been granted on
August 03, 1999, October 22, 1999, February l, 2000, March 30, 2001 and-
October 9, 2001;

Huebner’s Form 4 filed with the SEC on October 28, 2003 falsely reported that
options granted to Huebner had been granted on March 30, 2001 and October 15,
2001;

Beyle’s Form 4’s filed with the SEC on October 28, 2003 and November 3, 2003
falsely reported that options granted to Beyle had been granted on March 30,
2001, July 17, 2001 and October 15, 2001;

Woodhouse’s Form 4 filed with the SEC on November 14, 2003 falsely reported
that options granted to Woodhouse had been granted on March 30, 2001, July 17,
2001 and October 15, 2001;

Beyle’s Form 4 filed with the SEC on February 11, 2004 falsely reported that
options granted to Beyle had been granted on March 30, 2001;

 

 

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Miskimens’ Form 4 filed with the SEC on February 13, 2004 falsely reported that
options granted to Miskimens had been granted on October 9, 2001;

Klein’s Form 4 filed with the SEC on February 18, 2004, February 24, 2004,
March 2, 2004, March 9, 2004 falsely reported that options granted to Klein had
been granted on October 15, 2001;

Sporborg’s Form 4 filed with the SEC on March 8, 2004 falsely reported that
options granted to Sporborg had been granted on July 23, 2001;

Klein’s Form 4 filed with the SEC on March 17, 2004, March 18, 2004, March
23, 2004 and March 30, 2004 falsely reported that options granted to Klein had
been granted on March 30, 2001;

Klein’s Form 4 filed with the SEC on April 5, 2004 falsely reported that options
granted to Klein had been granted on October 22, 1999 and March 30, 2001;

Huebner’s Form 4 filed with the SEC on April 29, 2004 falsely reported that
options granted to Huebner had been granted on March 30, 2001;

Beyle’s Form 4 filed with the SEC on April 29, 2004 falsely reported that options
granted to Beyle had been granted on March 30, 2001 and July 17, 2001;

Klein’s Form 4 filed with the SEC on May 5, 2004 and May 12, 2004 falsely
reported that options granted to Klein had been granted on May 7, 2001;

Woodhouse’s Form 4 filed with the SEC on May 10, 2004 falsely reported that
options granted to Woodhouse had been granted on March 30, 2001 and July 17,
2001;

Klein’s Form 4’s filed with the SEC on May 19, 2004, May 26, 2004, June 2,
2004, June 15, 2004, June 22, 2004, June 30, 2004, July 2, 2004 and July 7, 2004
falsely reported that options granted to Klein had been granted on May 7, 2001;

Ferguson’s Form 4 filed with the SEC on May 20, 2004 falsely reported that
options granted to Ferguson had been granted on August 3, 1999 and October 22,
1999;

Klein’s Form 4’s filed with the SEC on July 7, 2004, July 14, 2004, July 20, 2004,
July 21, 2004, December 2, 2004, December 8, 2004, December 14, 2004,
December 21, 2004 and December 28, 2004 falsely reported that options granted
to Klein had been granted on June 26, 2001.

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Ferguson’s Form 4 filed with the SEC on August 31, 2004 falsely reported that
options granted to Ferguson had been granted on October 22, 1999 and October 9,
2001.

Evans-Lombe’s Form 4 filed with the SEC on September 1, 2004 falsely reported
that options granted to Evans-Lombe had been granted on July 27, 1999 and
October 22, 1999;

Woodhouse’s Form 4 filed with the SEC on September 02, 2004 falsely reported
that options granted to Woodhouse had been granted on October 25, 1999;

Beyle’s Form 4 filed with the SEC on November 5, 2004 falsely reported that
options granted to Beyle had been granted on March 30, 2001 and July 17, 2001;

Sporborg’s Form 4 filed with the SEC on November 5, 2004 falsely reported that
options granted to Sporborg had been granted on July 23, 2001;

Getty’s Form 4 filed with the SEC on November 16, 2004 falsely reported that
options granted to Getty had been granted on October 22, 1999 and October 15,
2001;

Ferguson’s Form 4 filed with the SEC on November 17, 2004 falsely reported that
options granted to Ferguson had been granted on March 30, 2001 and October 9,
2001;

Gurke’s Form 4 filed with the SEC on April 26, 2005 falsely reported that options
granted to Gurke had been granted on August 3, 1999, October 22, 1999 and
February 1, 2000;

Beyle’s Form 4 filed with the SEC on April 26, 2005 falsely reported that options
granted to Beyle had been granted on March 30, 2001 and July 17, 2001;

Ferguson’s Form 4 filed with the SEC on April 27, 2005 falsely reported that
options granted to Ferguson had been granted on February 1, 2000 and March 30,
2001;

Gurke’s Form 4 filed with the SEC on August 1, 2005 falsely reported that
options granted to Gurke had been granted on March 30, 2001 and October 9,
2001;

Huebner’s Form 4 filed with the SEC on August 2, 2005 falsely reported that
options granted to Huebner had been granted on March 30, 2001;

Beyle’s Form 4 filed with the SEC on August 2, 2005 falsely reported that options
granted to Beyle had been granted on July 17, 2001;

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ww. Sporborg’s Form 4 filed with the SEC on August 8, 2005 falsely reported that
options granted to Sporborg had been granted on July 23, 2001;

xx. Evans-Lombe’s Form 4 filed with the SEC on August 29, 2005 falsely reported
that options granted to Evans-Lombe had been granted on May 4, 1999, October
22, 1999 and October 15, 2001; and

yy. Getty’s Form 4 filed with the SEC on January 3, 2006 falsely reported that
options granted to Getty had been granted on March 30, 2001 and October 15,
2001.

Revelation of Options Backdating at Gettv Imag§

263. Defendants Klein, Getty, Bailey, Garb and Sporborg continued to conceal their
foregoing misconduct until November 9, 2006, when the Company issued a press release,
announcing an internal review of its historical stock option grants resulting from an SEC
investigation:

Getty Images, Inc. (NYSE: GYI), the world’s leading creator and distributor of
visual content, today announced that its board of directors has established a
special committee to conduct an internal investigation relating to the Company’s
stock option grant practices and related accounting for stock option grants. This
review is being conducted with the assistance of outside legal counsel retained by
the special committee

The Division of Enforcement of the Securities and Exchange Commission (the
“SEC”) had earlier notified the Company that it is conducting an informal inquiry
into the Company’s stock option grant practices, and has requested that the
Company provide the SEC with certain information relating to the Company’s
stock option grant practices. The Company is cooperating fully with the SEC in
this informal inquiry.

264. As a result of the SEC inquiry, Getty’s Board announced the same day that they
had established the Special Committee to conduct an investigation relating to the Company’s
equity compensation grant practices and related accounting for equity compensation grants. The
Special Committee consisted of two members of Getty Image’s Board of Directors, Alan G.

Spoon and Michael A. Stein, the chair of Getty Image’s Audit Committee.

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265. On April 16, 2007, the Company issued a press release admitting that their stock
option grants have incorrect measurement dates that must be adj usted.

266. On June 13, 2007, the Company filed its restatement of its financial results
adjusting for 827 million in additional compensation expenses.

INSIDER SELLING

267. During the relevant period, Defendants Klein, Getty, Garb and Sporborg, while in
possession of materially adverse non-public information regarding the backdating of stock
options and the false financial statements resulting therefrom, sold over 83 million shares of
Getty Images stock with a total proceeds of over $169 million, a significant portion of which was
obtained through the exercise of improperly backdated stock options, as shown in the chart
below. Specifically, Getty, from 2003 to 2006, sold 1,407,635 shares with total proceeds of
$76,183,332.60, and Klein, from 1999 to 2006, sold 1,763,585 shares with total proceeds of

$92,852,893.80, as shown below:

 

 

 

 

 

 

 

 

 

 

Name Date of Transaction Shares Sold Proceeds
Garb 6/2/2005 3,500 $262,850.00
Getty 11/11/03 to 1/3/06 1,407,635 $76,183,332.60
Klein 2/25/99 to 1/20/06 1,763,585 892,852,893.80
Sporborg 3/4/04 to 8/4/05 9,583 $577,309.86
TOTAL 2/25/99 to 1/20/06 3,184,303 $169,876,386.26

 

 

 

 

GETTY IMAGES’ FALSE FINANCIAL REPORTING
IN VIOLATION OF GAAL SEC REGULATIONS AND IRS RULES

268. As a result of Defendants Klein, Getty, Bailey, Garb and Sporborg’s improper
backdating of stock options, Defendants Klein, Getty, Bailey, Garb and Sporborg caused Getty
Images to violate GAAP, SEC regulations and IRS rules and regulations.

269. Getty Images’ financial results for 1999 through 2005 were included in reports
filed with the SEC and in other shareholder reports, In these reports, Defendants Klein, Getty,
Bailey, Garb and Sporborg represented that Getty Images’ financial results were presented in a

fair manner and in accordance with GAAP,

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270. Defendants Klein, Getty, Bailey, Garb and Sporborg’s representations were false
and misleading as to the financial information reported, as such financial information was not
prepared in conformity with GAAP, nor was the financial information “a fair presentation” of the
Company’s financial condition and operations, causing the financial results to be presented in
violation of GAAP and SEC rules.

271. GAAP consists of those principles recognized by the accounting profession as the
conventions, rules, and procedures necessary to define accepted accounting practice at the
particular time. Regulation S-X, to which the Company is subject as a registrant under the
Exchange Act, 17 C.F.R. §210.4-01(a)(1), provides that financial statements filed with the SEC,
which are not prepared in compliance with GAAP, are presumed to be misleading and
inaccurate.

Violations of GAAP

272. During the relevant period, Defendants Getty, Klein, Sporborg, Bailey and Garb
caused the Company to understate its compensation expense by not properly accounting for its
stock options under GAAP and thus overstated the Company’s net eamings.

273. Under well-settled accounting principles in effect throughout the relevant period,
Getty Images did not need to record an expense for options granted to employees at the current
market price (at-the-money). The Company was, however, required to record an expense in its
financial statements for any options granted below the current market price (in-the-money). In
order to provide Getty Images executives and employees with far more lucrative in-the-money
options, while avoiding having to inform shareholders about millions of dollars incurred by the
Company in compensation expenses (and without paying the IRS millions of dollars in
employment taxes), Defendants Getty, Klein, Sporborg, Bailey and Garb systematically falsified
Company records to create the false appearance that options had been granted at the market price
on an earlier date.

274. Throughout the relevant period, Getty Images accounted for stock options using

the intrinsic method described in APB 25, “Accounting for Stock Issued to Employees.” Under

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APB 25, employers were required to record as an expense on their financial statements the

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“intrinsic value” of a fixed stock option on its “measurement date, An option that is in-the-
money on the measurement date has intrinsic value, and the difference between its exercise price
and the quoted market price must be recorded as compensation expense to be recognized over
the vesting period of the option Options that are at-the-money or out-of-the-money on the
measurement date need not be expensed. Excluding non-employee directors, APB 25 required
employers to record compensation expenses on options granted to non-employees irrespective of
whether they were in-the-money or not on the date of grant.
Getty Images’ GAAP Violations Were Material

275. Getty Images’ false and misleading relevant period statements and omissions
regarding its accounting were material, particularly in light of SEC guidance on materiality.
SEC Staff Accounting Bulletin (“SAB”) Topic lM, Materiality, summarizes GAAP definitions
of materiality. Among other items, SAB Topic lM says: “A matter is ‘material’ if there is a
substantial likelihood that a reasonable person would consider it important.” It also stresses that
materiality requires qualitative, as well as quantitative, considerations For example, if a known
misstatement would cause a significant market reaction, that reaction should be taken into

account in determining the materiality of the misstatement

276. SAB Topic lM further states:

among the considerations that may well render material a
quantitatively small misstatement of a financial statement item are -

* * *

whether the misstatement masks a change in earnings or other
trends

whether the misstatement hides a failure to meet analysts’
consensus expectations for the enterprise

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whether the misstatement concerns a segment or other portion of
the registrant’s business that has been identified as playing a significant
role in the registrant’s operations or profitability.

277. SAB Topic lM also says that an intentional misstatement of even immaterial
items may be illegal and constitute fraudulent financial reporting

278. Getty Images’ misstatements satisfy these criteria and thus were material from
both a quantitative and qualitative perspective.

Getty Images’ Financial Statements Violated Fundamental Concepts of GAAP

279. Due to these accounting improprieties, the Company presented its financial results
and statements in a manner that violated GAAP, which are described by the following

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(a) The principle that interim financial reporting should be based upon the same
accounting principles and practices used to prepare annual financial statements
(APB No. 28,1110);

(b) The principle that financial reporting should provide information that is useful to
existing and potential investors and creditors and other users in making rational
investment, credit and similar decisions (FASB Statement of Concepts No. 1,

1134);

(c) The principle that financial reporting should provide information about the
economic resources of an enterprise, the claims to those resources, and the effects
of transactions, events and circumstances that change resources and claims to
those resources (Financial Accounting Standards Board (“FASB”) Statement of
Concepts No. 1, 1140);

(d) The principle that financial reporting should provide information about how
management of an enterprise has discharged its stewardship responsibility to
stockholders for the use of enterprise resources entrusted to it. To the extent that
management offers securities of the enterprise to the public, it voluntarily accepts
wider responsibilities for accountability to prospective investors and to the public
in general (FASB Statement of Concepts No. 1, 1150);

(e) The principle that financial reporting should be reliable in that it represents what
it purports to represent (FASB Statement of Concepts No. 2, 111[58-59);

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(f) The principle of completeness, which means that nothing is left out of the
information that may be necessary to insure that it validly represents underlying
events and conditions (FASB Statement of Concepts No. 2, 1179); and

(g) The principle that conservatism be used as a prudent reaction to uncertainty to try
to ensure that uncertainties and risks inherent in business situations are adequately
considered (FASB Statement of Concepts No. 2, 1[1[95, 97).

280. Further, the undisclosed adverse information concealed by Defendants Getty,
Klein, Sporborg, Bailey and Garb during the relevant period is the type of information which,
because of SEC regulations, regulations of the national stock exchanges and customary business
practice, is expected by investors and securities analysts to be disclosed and is known by
corporate officials and their legal and financial advisors to be the type of information which is
expected to be and must be disclosed.

Gettv Images’ Financial Statements Violated SEC Regulations

281. During the relevant period, Defendants Getty, Klein, Sporborg, Bailey and Garb
caused Getty Images to violate SEC regulations by failing to disclose that the Company’s senior
executives had been granted backdated stock options

282. Under SEC Regulations, Item 8 of Form 14-A and Item 11 of Form lO-K, an
issuer must furnish information required by Item 402 of Regulation S-K [17 C.F.R. §229.303].
Item 402(b) and (c) require a company to provide both a Summary Compensation Table and an
Option/SAR Grants table identifying the compensation of the named executive officers - the
Company’s CEO and its next four most highly paid executives ltem 402 requires particularized
disclosures involving a company’s stock option grants in the last fiscal year. In the summary
compensation table, the issuer must identify in a column “other annual compensation” received
by the named executives that is not properly categorized as salary or bonus, including any
“[a]bove market or preferential earnings on restricted stock, options, SARs or deferred
compensation” paid to the officer during the period. Item 402(b)(2)(iii)(C)(2). In the option

grant table, the issuer must identify in a column “[t]he per-share exercise or base price of the

options . . . If such exercise or base price is less than the market price of the underlying security
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on the date of grant, a separate, adjoining column shall be added showing market price on the
date of grant. . . .” ltem 402(c)(2)(iv).

283. Defendants Getty, Klein, Sporborg, Bailey and Garb caused Getty Images to
violate SEC regulations by failing to disclose that the Company’s named executive officers had
been granted options with exercise prices below the market value on the date the Board or
Compensation Committee approved the grant.

Violations of IRS Rules and Regulations

284. During the relevant period, Defendants Getty, Klein, Sporborg, Bailey and Garb
further caused Getty Images to violate IRS rules and regulations due to its improper accounting
for the backdated stock options As a result, the Company’s tax liabilities were understated,
exposing Getty Images to potential amounts owed for back taxes, penalties and interest to the
IRS for improperly reporting compensation

285. Defendants Getty, Klein, Sporborg, Bailey and Garb caused the Company to
violate Section 162(m), which generally limits a publicly traded company’s tax deductions for
compensation paid to each of its named executive officers to $1 million unless the pay is
determined to be “performance-based.” In order for compensation to be performance-based, the
Compensation Committee must have set pre-established and objective performance goals The
goals must then be approved by the shareholders Section 162(m) defines stock options as
performance-based provided they are issued at an exercise price that is no less than the fair
market value of the stock on the date of the grant. Accordingly, properly issued stock options do
not have to be taken into account in calculating whether an executive’s compensation has
exceeded the $1 million compensation cap.

286. Section 162(m), known as the $1 million rule, was enacted in 1993 in order to tie
top executives’ soaring pay packages more closely to a company’s performance This change in
the tax law turned compensation practices for a company’s top executives away from straight
salary-based compensation to performance-based compensation, including stock options

According to former SEC Chairman Harvey Pitt: “What [162[m]] did was create incentives to

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find other forms of compensation so people could get over the $1 million threshold without
running afoul of the code.”

287. Defendants Getty, Klein, Sporborg, Bailey and Garb caused Getty Images to
violate Section 162(m) by providing backdated options to the Company’s named executive
officers, which were granted with exercise prices that were less than the fair market value of the
stock on the date of the grant. As a result, all of the income resulting from the exercise of the
options must be included for purposes of calculating whether the named executive’s
compensation exceeds the $l million cap for federal tax purposes

288. Defendants Getty, Klein, Sporborg, Bailey and Garb further caused the Company
to violate IRS rules and regulations in order to avoid having to withhold income and FICA tax
from its executives and employees upon the exercise of Getty Images’ stock options by
improperly accounting for its Nonqualified Stock Options (“NSOs”) as Incentive Stock Options
(“ISOs”).

289. ISOs are a form of equity compensation that may be provided to a company’s
employees lSOs are required to be granted at an exercise price that is no less than the fair
market value of the stock on the date of the grant and are entitled to preferential tax treatment as
they are not subject to income tax upon exercise of the options but only upon sale of the stock
(except for the possible imposition of alternative minimum tax on the option spread at the time of
exercise). Stock options that do not qualify as lSOs are considered to be NSOs NSOs are not
entitled to preferential treatment as they are subject to income tax and FICA withholding upon
exercise. As a result, a company that fails to withhold income tax and/or FICA upon the exercise
of NSOs by its employees would be liable for the amount of the income tax and FICA that the
company failed to withhold upon exercise of the options, in addition to interest and penalties

290. By improperly treating its backdated options as ISOS, Defendants Getty, Klein,
Sporborg, Bailey and Garb failed to provide proper income tax and FICA withholdings upon the

exercise of its options by its executives and employees in violation of IRS rules and regulations

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291. The chart below illustrates Getty Images’ false and misleading fiscal and
quarterly financial results which materially understated its compensation expenses and thus

overstated its earnings

 

 

 

 

 

 

 

 

 

 

 

 

' Repor te d Reported Basic
Fiscal Year Eamings (Loss) Earnmgs (Loss)
Per Share

1999 ($67.833 million) ($1.94)
2000 ($7.901 million) ($0.32)
2001 ($95.312 million) ($1.84)
2002 $21.468 million $0.40
2003 $64.017 million $1.16
2004 $106.65 million $1.81
2005 $149.703 million $2.43

 

292. Meanwhile, Defendants Getty, Klein, Sporborg, Bailey and Garb were causing the
Company to grant them hundreds of thousands of stock options, which were backdated or
misdated. As such, Defendants Getty, Klein, Sporborg, Bailey and Garb, in violation of GAAP,
did not account for the significant and material amount in compensation expenses as to the
aforementioned stock option grants, thereby overstating earnings and earnings per share.

DEFENDANTS’ BREACHES OF FIDUCIARY DUTIES

293. ln a misguided effort to attract and retain employees in a competitive
environment, Defendants Getty, Klein, Sporborg, Bailey and Garb exceeded the bounds of the
law and legitimate business judgment by perpetrating their backdating scheme. Their
misconduct was unjustifiable and constituted a gross breach of their fiduciary duties as officers
and/or directors of the Company. Specifically, Defendants Getty, Klein, Sporborg, Bailey and
Garb breached their fiduciary duties by:

a. colluding with each other to backdate stock option grants;
b. colluding with each other to violate GAAP and Section 162(m);

c. colluding with each other to produce and disseminate false financial statements to
Getty Images shareholders and the market that improperly recorded and accounted

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for the backdated option grants and concealed the improper backdating of stock
options; and

d. colluding with each other to file false proxy statements, false financial statements,
and false Form 4s in order to conceal the improper backdating of stock options

294. Defendants Getty, Klein, Sporborg, Bailey and Garb’s foregoing misconduct was
not, and could not have been, an exercise of good faith business judgment Rather, it was
intended to, and did, unduly benefit defendants Getty, Klein, Sporborg, Albers, Beyle,
Blackwell, Evans-Lombe, Ferguson, Gurke, Huebner, Miskimens, O’Neill, Powell, Roling, von
Bargen and Woodhouse at the expense of the Company.

295. As a direct and proximate result of Defendants Getty, Klein, Sporborg, Bailey and
Garb’s foregoing breaches of fiduciary duties, the Company has sustained millions of dollars in
damages including, but not limited to, the additional compensation expenses and tax liabilities
the Company will be required to incur, the loss of funds paid to the Company upon the exercise
of stock options resulting from the difference between the fair market value of the stock option
on the true date of grant and the price that was actually paid as a result of the backdated stock
option grant, the costs associated with the Company’s internal investigation, costs and expenses
incurred in connection with the Company’s restatement of historical financial results, and costs
and expenses incurred in connection with the SEC investigation of the Company.

296. Defendants Getty, Klein, Sporborg, Albers, Beyle, Blackwell, Evans-Lombe,
Ferguson, Gurke, Huebner, Miskimens, O’Neill, Powell, Roling, von Bargen and Woodhouse
have exercised numerous backdated options at improperly low prices and have then sold the
shares for substantial profits Consequently, these defendants have been unjustly enriched by
garnering millions of dollars in illicit profits and depriving the Company of millions of dollars in
payments that the Company should have received upon exercise of the options

DERIVATIVE AND DEMAND EXCUSED ALLEGATIONS
297. Plaintiff brings this action derivatively in the right and for the benefit of the

Company to redress the Individual Defendants’ breaches of fiduciary duties, unjust enrichment,

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statutory violations, and/or other violations

298. Plaintiff is an owner of Getty Images common stock and was an owner of Getty
Images common stock at times relevant hereto.

299. Plaintiff will adequately and fairly represent the interests of the Company and its
shareholders in enforcing and prosecuting its rights

300. As a result of the facts set forth herein, Plaintiff has not made any demand on
Getty Images’ Board of Directors to institute this action against the Individual Defendants Such
demand would be a futile and useless act because the Board is incapable of making an
independent and disinterested decision to institute and vigorously prosecute this action 1

301. At the time this action was commenced, the Board consisted of seven directors:
defendants Getty, Klein, Sporborg, Bailey and Garb and directors Alan G. Spoon and Michael A.
Stein Five out of the seven directors -- a majority of the board -- received and/or approved
backdated options Thus, the Board is incapable of making an independent and disinterested
decision to institute and vigorously prosecute this action

302. The following chart summarizes the positions of certain directors during the

relevant period:

Ge
Klein
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Garb

 

303. The following directors are incapable of independently and disinterestedly
considering a demand to commence and vigorously prosecute this action1

Getty
304. During the relevant period, Defendant Getty received 915,000 backdated options

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Thus, Defendant Getty is directly interested in the improperly backdated stock option grants
complained of herein Also, as a co-founder of the Company and Chairman of the Board,
Defendant Getty knowingly and deliberately participated in and approved the improper
backdating of stock options, as alleged herein, and therefore is substantially likely to be held
liable for the misconduct complained of herein

305. Because of his knowing participation in the backdating scheme, Getty knowingly
and deliberately participated in and approved the Company’s filing of false financial statements
and other false SEC filings, as alleged herein, and knowingly and deliberately participated in and
approved the Company’s violations of GAAP and Section 162(m), as alleged herein, and
therefore is substantially likely to be held liable for the misconduct complained of herein
Moreover, by colluding with the other defendants who received backdated options as alleged
herein, Getty has demonstrated that he is unable or unwilling to act independently of these other
defendants

306. Moreover, in connection with the proxy statements dated April 7, 2000, April 6,
2001 and April 19, 2002, Getty knowingly and intentionally misrepresented Getty images’
compensation practices while simultaneously seeking shareholder approval of the stock option
plans under which Getty and others backdated stock options and seeking shareholder approval to
increase the authorized number of Company shares allowed under the stock incentive plans in
order to continue the backdating scheme. _

307. Defendant Getty is also directly interested in the stock option backdating scheme
because he received $76,183,332.60 in illegal proceeds from his sale of Getty Images stock, a
significant portion of which was obtained through the exercise of improperly backdated stock
options

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308. Defendant Klein is a recipient of 1,317,000 backdated options Thus, he is

directly interested in the improperly backdated stock option grants complained of herein Also,

as a director and CEO of the Company, Klein knowingly and deliberately participated in and

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approved the improper backdating of stock options, as alleged herein, and therefore is
substantially likely to be held liable for the misconduct complained of herein

309. Because of his knowing participation in the backdating scheme, Klein knowingly
and deliberately participated in and approved the Company’s filing of false financial statements
and other false SEC filings, as alleged herein, and knowingly and deliberately participated in and
approved the Company’s violations of GAAP and Section 162(m), as alleged herein, and
therefore is substantially likely to be held liable for the misconduct complained of herein
Moreover, by colluding with the other defendants who received backdated options and others, as
alleged herein, Klein has demonstrated that he is unable or unwilling to act independently of
those Defendants

310. Furthermore, Klein’s principal professional occupation is his position as CEO of
the Company. In his position as CEO of the Company, Klein stands to earn hundreds of
thousands of dollars in annual salary, bonuses, and other compensation, all of which must be
approved by defendants Bailey, Garb and Sporborg, who currently serve as members of the
Compensation Committee. In 2005, for his service as CEO, Klein received a salary of 8950,000,
a bonus of $691,600 and a grant of 350,000 stock options Accordingly, Klein is incapable of
independently and disinterestedly considering a demand to commence and vigorously prosecute
this action against defendants Bailey, Garb and Sporborg

311. Moreover, in connection with the proxy statements dated April 7, 2000, April 6,
2001 and April 19, 2002, Klein knowingly and intentionally misrepresented Getty Images’
compensation practices while simultaneously seeking shareholder approval of the stock option
plans under which Klein and others backdated stock options and seeking shareholder approval to
increase the authorized number of Company shares allowed under the stock incentive plans in
order to continue the backdating scheme.

312. Defendant Klein is also directly interested in the stock option backdating scheme
because he received $92,852,893.80 in illegal proceeds from his sale of Getty Images stock, a

significant portion of which was obtained through the exercise of improperly backdated stock

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options
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313. Sporborg is a recipient of at least 8,333 backdated stock options Thus, he is
directly interested in the improperly backdated stock option grants complained of herein Also,
as a member of the Compensation Committee as all relevant times hereto, Sporborg knowingly
and deliberately participated in and approved the improper backdating of stock options, as
alleged herein, and therefore is substantially likely to be held liable for the misconduct
complained of herein

314. Also, as a member of the Audit Committee, Sporborg knowingly and deliberately
participated in and knowingly approved the filing of false financial statements and other false
SEC filings, as alleged herein, and knowingly and deliberately participated in and approved the
Company’s violations of GAAP and Section 162(m), as alleged herein, and therefore is
substantially likely to be held liable for the misconduct complained of herein Moreover, by
colluding with the Defendants who received backdated options and others, as alleged herein,
Sporborg has demonstrated that he is unable or unwilling to act independently of those
Defendants

315 . Moreover, in connection with the proxy statements dated April 7, 2000, April 6,
2001 and April 19, 2002, Sporborg knowingly and intentionally misrepresented Getty Images’
compensation practices while simultaneously seeking shareholder approval of the stock option
plans under which Sporborg and others backdated stock options and seeking shareholder
approval to increase the authorized number of Company shares allowed under the stock incentive
plans in order to continue the backdating scheme.

316. Defendant Sporborg is also directly interested in the stock option backdating
scheme because he received 8577,309.86 in illegal proceeds from his sale of Getty Images stock,

a significant portion of which was obtained through the exercise of improperly backdated stock

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Bailey

317. Bailey, as a member of the Compensation Committee as all relevant times hereto,
knowingly and deliberately participated in and approved the improper backdating of stock
options, as alleged herein, and as a member of the Audit Committee, Bailey knowingly and
deliberately participated in and approved the filing of false financial statements and other false
SEC filings, as alleged herein, and knowingly and deliberately participated in and approved the
Company’s violations of GAAP and Section 162(m), as alleged herein, and therefore is
substantially likely to be held liable for the misconduct complained of herein Moreover, by
colluding with the Defendants who received backdated options and others, as alleged herein,
Bailey has demonstrated that he is unable or unwilling to act independently of those Defendants

318. Moreover, in connection with the proxy statements dated April 7, 2000, April 6,
2001 and April 19, 2002, Bailey knowingly and intentionally misrepresented Getty Images’
compensation practices while simultaneously seeking shareholder approval of the stock option
plans under Bailey and others backdated stock options and seeking shareholder approval to
increase the authorized number of Company shares allowed under the stock incentive plans in
order to continue the backdating scheme.

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319. Garb, as a member of the Compensation Committee as all relevant times hereto,
knowingly and deliberately participated in and approved the improper backdating of stock
options, as alleged herein, and as a member of the Audit Committee, Garb knowingly and
deliberately participated in and approved the filing of false financial statements and other false
SEC filings, as alleged herein, and knowingly and deliberately participated in and approved the
Company’s violations of GAAP and Section 162(m), as alleged herein, and therefore is
substantially likely to be held liable for the misconduct complained of herein, Moreover, by
colluding with the Defendants who received backdated options and others, as alleged herein,
Garb has demonstrated that he is unable or unwilling to act independently of those Defendants

320. Moreover, in connection with the proxy statements dated April 7, 2000, April 6,

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2001 and April 19, 2002, Garb knowingly and intentionally misrepresented Getty Images’
compensation practices while simultaneously seeking shareholder approval of the stock option
plans under Garb and others backdated stock options and seeking shareholder approval to
increase the authorized number of Company shares allowed under the stock incentive plans in
order to continue the backdating scheme
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321. Getty, Klein, Sporborg and defendant Evans-Lombe share a long-standing
personal and professional relationship, especially with regard to their work at Harnbros Bank
Limited (“Hambros”). Getty joined Hambros in 1991 , prior to founding Getty Images, and Klein
served as a director and Manager of the media group. Moreover, Sporborg served as Hambros’
Chairman and CEO prior to joining Getty Images, and Evans-Lombe held various finance related
positions at Hambros. Accordingly, Getty, Klein, and Sporborg are incapable of independently
and disinterestedly considering a demand to commence and vigorously prosecute this action
against each other and Evans-Lombe.

Backdating Is Not an Exercise of Valid Business Judgment

322. Demand is also excused because the misconduct complained of herein was not,
and could not have been, an exercise of good faith business judgment As represented in Getty
Images’ proxy statements, the stated purpose of the Company’s shareholder-approved stock
option plan is to attract and retain employees by providing compensation that reflects the
Company’s stock performance and “align[s] the interests of executive[s] with those of the
Stockholders by providing . . . [them] with a financial interest in the Company.”

323. However, by granting options with backdated exercise prices, Defendants Klein,
Getty, Bailey, Garb and Sporborg undermined the purpose of the Company’s shareholder-
approved stock option plan by awarding employees compensation that had intrinsic value
regardless of Getty Images’ stock performance In effect, this practice was nothing more than

secret handouts to executives and employees at the expense of unsuspecting shareholders and the

Company.
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324. Defendants Klein, Getty, Bailey, Garb and Sporborg could have achieved the
stated purpose of attracting and retaining “key executives” by granting them additional options
under its incentive plan, or by granting options at a price less than the fair market value on the
date of grant and simply disclosing and expensing these grants Instead, Defendants Klein,
Getty, Bailey, Garb and Sporborg backdated option grants in violation of the Company’s
shareholder-approved stock option plan and improperly reported these grants in the Company’s
and their own financial disclosures

325. The practice of backdating stock options cannot be a valid exercise of business
judgment because it has subjected Getty Images to potentially massive liability. Getty Images
conducted an internal investigation concerning the historical backdating of option grants and
admitted to backdating stock option grants The SEC has also initiated its own investigation into
the Company’s prior option grants The Company also restated its previously issued financial
statements due to errors in accounting for compensation expenses Furthermore, Getty Images
will likely suffer tax liabilities for the additional compensation they will have to expense as the
result of backdated options, and it has tarnished its reputation in the investment community
through this deliberate and calculated conduct

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Against Defendants Getty, Klein, Sporborg, Bailey and Garb for
Violations of §10(b) and Rule 10b-5 of the Securities and Exchange Act

326. Plaintiff incorporates by reference and realleges each and every allegation set
forth above, as though fully set forth herein

327. Throughout the relevant period, defendants Getty, Klein, Sporborg, Bailey and
Garb individually and in concert, directly and indirectly, by the use and means of
instrumentalities of interstate commerce and/or of the mails, intentionally or recklessly employed
devices, schemes and artifices to defraud and engaged in acts, practices and a course of business
which operated as a fraud and deceit upon the Company.

328. Defendants Getty, Klein, Sporborg, Bailey and Garb, as top executive officers

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and/or directors of the Company, are liable as direct participants in the wrongs complained of
herein Through their positions of control and authority as officers and/or directors of the
Company, defendants Getty, Klein, Sporborg, Bailey and Garb were able to and did control the
conduct complained of herein

329. Defendants Getty, Klein, Sporborg, Bailey and Garb acted with scienter in that
they either had actual knowledge of the fraud set forth herein, or acted with reckless disregard
for the truth in that they failed to ascertain and to disclose the true facts, even though such facts
were available to them. Defendants Getty, Klein, Sporborg, Bailey and Garb were among the
senior management and/or directors of the Company and were therefore directly responsible for
the fraud alleged herein

330. The Company relied upon defendants Getty, Klein, Sporborg, Bailey and Garb’s
fraud in granting defendants Getty, Klein, Sporborg, Bailey and Garb options to purchase shares
of the Company’s common stock, as alleged herein

331. As a direct and proximate result of defendants Getty, Klein, Sporborg, Bailey and
Garb’s fraud, the Company has sustained millions of dollars in damages, including, but not
limited to, the additional compensation expenses and tax liabilities the Company will be required
to incur, the loss of funds paid to the Company upon the exercise of stock options resulting from
the difference between the fair market value of the stock option on the true date of grant and the
price that was actually paid as a result of the backdated stock option grant, the costs associated
with the Company’s internal investigation costs and expenses incurred in connection with the
Company’s restatement of historical financial results, and costs and expenses incurred in
connection with the SEC investigation of the Company.

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Against Defendants Getty, Klein, Sporborg, Bailey and Garb
for Violations of §14(a) of the Securities Exchange Act
332. Plaintiff incorporates by reference and realleges each and every allegation set

forth above, as though fully set forth herein

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333. Rule 14-A-9, promulgated pursuant to § 14(a) of the Exchange Act, provides that
no proxy statement shall contain “any statement which, at the time and in the light of the
circumstances under which it is made, is false or misleading with respect to any material fact, or
which omits to state any material fact necessary in order to make the statements therein not false
or misleading.” 17 C.F.R. §240.14-A-9.

334. The proxy statements described herein violated §l4(a) and Rule l4-A-9 because
defendants Getty, Klein, Sporborg, Bailey and Garb omitted material facts, including the fact
that they were causing Getty Images to engage in a secret options backdating scheme, a fact
which defendants Getty, Klein, Sporborg, Bailey and Garb were aware of and participated in
from at least 1994.

33 5. Defendants Getty, Klein, Sporborg, Bailey and Garb knew that the proxy
statements were materially false and misleading

336. The misrepresentations and omissions in the proxy statements were material. The
proxy statements were an essential link in the accomplishment of the continuation of Defendants
Getty, Klein, Sporborg, Bailey and Garb’s unlawful stock option backdating scheme, as
revelations of the truth would have immediately thwarted a continuation of the shareholders’
endorsement of the directors’ positions, the executive officers’ compensation and the Company’s
compensation policies

337. The Company was damaged as a result of the material misrepresentations and
omissions in the Proxy Statements

COUNT III
Against Defendants Getty, Klein, Sporborg, Bailey and Garb
For Violations of §20(a) of the Securities Exchange Act

338. Plaintiff incorporates by reference and realleges each and every allegation set
forth above, as though fully set forth herein

339. Defendants Getty, Klein, Sporborg, Bailey and Garb, by virtue of their positions

with Getty Images and their specific acts, were, at the time of the wrongs alleged herein,

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controlling persons of Getty Images within the meaning of §20(a) of the Exchange Act. They
had the power and influence and exercised the same to cause Getty Images to engage in the
illegal conduct and practices complained of herein
QU_NTH
Against Defendants Getty, Klein, Sporborg, Bailey and Garb
for Breach of Fiduciary Duty and/or Aiding and Abetting

340. Plaintiff incorporates by reference and realleges each and every allegation set
forth above, as though fully set forth herein

341. As alleged in detail herein, Defendants Getty, Klein, Sporborg, Bailey and Garb
had a fiduciary duty to, among other things refrain from unduly benefiting themselves and other
Company insiders at the expense of the Company.

342. As alleged in detail herein, Defendants Getty, Klein, Sporborg, Bailey and Garb
breached their fiduciary duties by, among other things engaging in a scheme to grant backdated
stock options to themselves and/or certain other officers and directors of the Company and cover
up their misconduct

343. ln breach of their fiduciary duties of loyalty and good faith, Defendants Getty,
Klein, Sporborg, Bailey and Garb agreed to and did participate with and/or aided and abetted one
another in a deliberate course of action designed to divert corporate assets to themselves and/or
other Company insiders

344. Defendants Getty, Klein, Sporborg, Bailey and Garb’s foregoing misconduct was
not, and could not have been, an exercise of good faith business judgment Rather, it was
intended to and did, unduly benefit Defendants Getty, Klein, Sporborg, Albers, Beyle,
Blackwell, Evans-Lombe, Ferguson, Gurke, Huebner, Miskimens O’Neill, Powell, Roling, von
Bargen and Woodhouse at the expense of the Company.

345 . As a direct and proximate result of Defendants Getty, Klein, Sporborg, Bailey and
Garb’s foregoing breaches of their fiduciary duties the Company has sustained millions of

dollars in damages including, but not limited to, the additional compensation expenses and tax

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liabilities the Company will be required to incur, the loss of funds paid to the Company upon the
exercise of stock options resulting from the difference between the fair market value of the stock
option on the true date of grant and the price that was actually paid as a result of the backdated
stock option grant, the costs associated with the Company’s internal investigation costs and
expenses incurred in connection with the Company’s restatement of historical financial results
and costs and expenses incurred in connection with the SEC investigation of the Company.
COUNT V
Against Defendants Getty, Klein, Sporborg, Albers, Beyle, Blackwell, Evans-Lombe,
Ferguson, Gurke, Huebner, Miskimens, O’Neill, Powell, Roling, von Bargen and
Woodhouse for Unjust Enrichment

346. Plaintiff incorporates by reference and realleges each and every allegation set
forth above, as though fully set forth herein

347. Defendants Getty, Klein, Sporborg, Albers, Beyle, Blackwell, Evans-Lombe,
Ferguson, Gurke, Huebner, Miskimens, O’Neill, Powell, Roling, von Bargen and Woodhouse
were unjustly enriched by their receipt and retention of backdated stock option grants and the
proceeds they received through exercising backdated stock options as alleged herein and it
would be unconscionable to allow them to retain the benefits thereof.

348. To remedy defendants Getty, Klein, Sporborg, Albers Beyle, Blackwell, Evans-
Lombe, Ferguson, Gurke, Huebner, Miskimens O’Neill, Powell, Roling, von Bargen and
Woodhouse’s unjust enrichment, the Court should order them to disgorge to the Company all of
the backdated stock options they received, including the proceeds of any such options that have
been exercised, sold, pledged, or otherwise monetized.

COUNT VI
Against Defendants Getty, Klein, Sporborg, Bailey and Garb for Constructive Fraud

349. Plaintiff incorporates by reference and realleges each and every allegation set

forth above, as though fully set forth herein

350. As corporate fiduciaries Defendants Getty, Klein, Sporborg, Bailey and Garb

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owed to Getty Images and its shareholders a duty of candor and full accurate disclosure
regarding the true state of Getty Images’ business and assets and their conduct with regard
thereto.

351. As a result of the conduct complained of, Defendants Getty, Klein, Sporborg,
Bailey and Garb made, or aided and abetted the making of, numerous misrepresentations to
and/or concealed material facts from Getty Images’. shareholders despite their duties to, inter
alia, disclose the true facts regarding their stewardship of Getty Images, Thus they have
committed constructive fraud and violated their duty of candor.

352. By reason of the foregoing, Getty Images has been damaged

COUNT VII
Against the Individual Defendants for Corporate Waste

353. Plaintiff incorporates by reference and realleges each and every allegation set
forth above, as though fully set forth herein

354. As a result of the conduct described above, the Individual Defendants will be and
have been unjustly enriched at the expense of Getty Images, in the form of unjustified salaries
benefits bonuses stock option grants and other emoluments of office

35 5 . All the payments and benefits provided to the Individual Defendants were at the
expense of Getty Images The Company received no benefit from these payments and Getty
Images was damaged by such payments

356. Certain defendants sold Getty Images stock for a profit during the period of
deception, misusing confidential non-public corporate information These defendants should be
required to disgorge the gains which they have and/or will otherwise unjustly obtain at the

expense of Getty Images A constructive trust for the benefit of the Company should be imposed

thereon
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COUNT VIII
Against the Klein, Getty, Garb and Sporborg
for Insider Selling and Misappropriation of Information

357. Plaintiff incorporates by reference and realleges each and every allegation set
forth above, as though fully set forth herein

358. At the time of their stock sales, defendants Klein, Getty, Garb and Sporborg knew
that the Company’s financial results were false and misleading These Defendants’ sales of
Getty Images common stock while in possession and control of this material adverse nonpublic
information was a breach of their fiduciary duties of good faith, honesty and loyalty.

359. Since the use of the Company’s proprietary information for their own gain
constitutes a breach of the fiduciary owed by defendants Klein, Getty, Garb and Sporborg to the
Company, Plaintiff, on behalf of the Company, are entitled to the imposition of a trust on any
profits these Defendants obtained thereby.

360. Plaintiff, as shareholder of Getty Images, seeks damages and other relief for Getty
Images

WHEREFORE, Plaintiff demands judgment as follows:

A. Against Defendants Getty, Klein, Sporborg, Bailey and Garb and in favor of the
Company for the amount of damages sustained by the Company as a result of their misconduct;

B. Ordering defendants Getty, Klein, Sporborg, Albers, Beyle, Blackwell, Evans-
Lombe, Ferguson, Gurke, Huebner, Miskimens, O’Neill, Powell, Roling, von Bargen and
Woodhouse to disgorge to the Company all of the backdated stock options they received,
including the proceeds of any such options that have been exercised, sold, pledged, or otherwise
monetized and imposing a constructive trust thereon;

C. Granting appropriate equitable relief to remedy Defendants Getty, Klein,

Sporborg, Bailey and Garb’s breaches of fiduciary duties;

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D. Directing the Company to take all necessary actions to reform and improve its
corporate governance and internal control procedures to comply with applicable law, including,
but not limited to, putting forward for a shareholder vote resolutions for amendments to the
Company’s By-Laws or Articles of Incorporation and taking such other action as may be
necessary to place before shareholders for a vote adoption of the following Corporate
Govemance policies:

(a) a proposal requiring that the office of CEO of the Company and Chairman
of the.Board be permanently held by separate individuals and that the Chairman of the Board
meets rigorous “independent” standards;

(b) a proposal to strengthen the Board’s supervision of operations and develop
and implement procedures for greater shareholder input into the policies and guidelines of the
Board;

(c) appropriately test and then strengthen the internal audit and control
functions;

(d) rotate independent auditing firms every five years;

(e) control and limit insider stock selling and the terms and timing of stock
option grants; and

(f) reform executive compensation;

E. Ordering an accounting of all stock option grants made to defendants Getty,
Klein, Sporborg, Albers, Beyle, Blackwell, Evans-Lombe, Ferguson, Gurke, Huebner,
Miskimens, O’Neill, Powell, Roling, von Bargen and Woodhouse, including, but not limited to,
the dates of the grants, the amounts of the grants the value of the grants the recipients of the
grants the dates the stock options were exercised, as well as the disposition of any proceeds
received by defendants Getty, Klein, Sporborg, Albers, Beyle, Blackwell, Evans-Lombe,
Ferguson, Gurke, Huebner, Miskimens, O’Neill, Powell, Roling, von Bargen and Woodhouse via

sale or other exercise of the grants;

F. Ordering all contracts which provide for stock option grants to defendants Getty,
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Klein, Sporborg, Albers, Beyle, Blackwell, Evans-Lombe, Ferguson, Gurke, Huebner,
Miskimens, O’Neill, Powell, Roling, von Bargen and Woodhouse and were entered into during
the relevant period should, therefore, be rescinded, with all sums paid under such contracts
returned to the Company, and all such executory contracts cancelled and declared void;

G. Awarding to Plaintiff the costs and disbursements of the action, including
reasonable attorneys’ fees accountants’ and experts’ fees costs and expenses and

H. Granting such other and further relief as the Court deems just and proper.

JURY TRIAL DEMANDED

Plaintiff demands a trial by jury.

Dated: August 27, 2007 Respectfully submitted,

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I, TARA KAO, hereby declare as follows:

1. I am an associate of the law firm of Schiffn`n Barroway Topaz & Kessler, LLP,
counsel for plaintiff Richard B. Edmonds in the above-entitled action I have read the foregoing
Amended Shareholder Verified Derivative Complaint and know the contents thereof. I am
informed and believe the matters therein are true and on that ground allege that the matters stated
therein are true

2. I make this Verification because plaintiff Richard B. Edmonds is absent from the
County of Delaware, Pennsylvania where I maintain my office

Executed this 27 day of August, 2007.

/s/ Tara Kao
TARA P. KAO

 

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DECLARATION OF SERVICE

I, TARA KAO, the undersigned, declare:

1. That declarant is and was at all times herein mentioned, a citizen of the United
States and a resident of the County of Delaware, Pennsylvania, over the age of 18 years and not
a party to or interested in the within action; that declarant’s business address is 280 King of
Prussia Road, Radnor, Pennsylvania 19087.

2. That on August 27, 2007, declarant served the following AMENDED
SHAREHOLDER VERIFIED DERIVATIVE COMPLAINT via the CM/ECF System to the
parties listed on the attached service list

3. That there is regular communication between the parties

I declare under penalty of perjury that the foregoing is true and correct Executed this

27th day of August 2007, at Radnor, Pennsylvania.

/s/
TARA KAO

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GETTY IMAGES, INC.
Service List - August 27, 2007
Page 1 of 1

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